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                      Exhibit 13
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                                                                        [Execution Ver ion]




                                 A SET PURCHASE AGREEME T

                                             by and between

                                 KING PHARMACEUTICALS              C.

                                                  and

                                   ACTA VIS ELIZABETH L.L.C.

                                   dated as of December 17, 2008




         1Y: 611094




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                                       ASSET PURCHASE AGREEMENT

                        This Asset Purchase Agreement (this ·· Aureement") is made and entered into as of
         December 17, 2008 (the "Execution Date"), by and between Actavis Elizabeth, L. L.C., a
         Delaware limited liability company (""Buver"), andl King Pharmaceuticals, Inc., a Tennessee
         corporation ("'King").

                                                   RECITALS

                       WHEREAS, King is party to an Agreement and Plan of Merger, dated as of
         November 23, 2008, by and among King, Albert Acquisition Corp. and Alpham1a Inc. (the
         ··Merger Agreement"') pursuant to which, subject to the tem1s and conditions set fo1th therein,
         King has agreed to acquire Alphanna Inc. ("Alpham1a''):

                        WHEREAS, Alpham,a is engaged in the business of seJling in the Tenitory the
         Product that contains morphine sulfate as its sole active ingredient that is approved for
         distribution as of the Closing Date in the Ten-itory under the Regulatory Approval (the
         "Business..);

                        WHEREAS, effective upon the acquisition by King of Alpharma pursuant to the
         Merger Agreement, King desires to sell to Buyer the Product and ce1tain related assets, and
         Buyer desires to purchase the Product and such assets from Seller and to assume certain related
         obligations; and

                        WHEREAS. this Agreement and the consummation of the transactions
         contemplated hereby are not in consideration of, or intended to induce or encourage, the
         settlement or other resolution of the litigation captioned King Pharmaceuticals, Inc., King
         Pharmaceuticals Research and DeYelopment, 1.n c., Elan Corporation pie and Elan Phanna
         International Ltd. v. Actavis. Inc. and Actavis Elizabeth LLC. Civil Action No. 07-CV-504 1
         (JMA, SDW) (DNJ).

                                                 AGREEMENT

                        NOW. THEREFORE, in consideration of the premises and the mutual covenants
         and promises contained herein. and for other good and valuable consideration. the receipt and
         sufficiency of which hereby are acknowledged, the Pat1ies agree as follows:

                                                     Article I.
                                                    Definitions

                        Section 1.01   Defined Terms

                       As used in this Agreement, the fo llowing defined terms have the meanings
         described below:

                         (a)     ..Affiliate" means. with respect to any Person. any other Person that,
         directly or indirectly, through one or more intermediaries controls, is controlled by, or is under
         common control v,ith, such Person. For purposes of this definition, ··control.. means the




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         possession. direct or indirect, of the power to direct or cause the direction of the management and
         policies of a Person. whether through ownership of voting securities or general partnership or
         managing member interests, by contract or otherv.:ise. Without limiting the generality of the
         forego ing, a Person shall be deemed to control any other Person in which it owns, directly or
         indirectly. a majority of the ovmership interests.

                        (b)     ..AG Distributor"' shall mean a third party pharmaceutical company that is
         taking on the role of distributing Authorized Generic Versions to trade customers (e.g.
         wholesalers, retail chains. managed care organizations, government agencies, phannacy benefit
         managers. etc.), which third party pharmaceutical company shall exclude ordinary trade
         customers such as wholesalers.

                         (c)    --A2:1rre2:ate In\'entorv Amount'" has the meanmg set fo1th 111 Section
         4.02(b).

                         (d)    ··A2:1rregate Wholesaler Amow1t'" has the meaning set forth in Section
         8. l 7(a).

                          (e)   ..A!ZQreQate Wholesale/Retail Amount'" has the meaning set forth m
         Section 8. l 7(b).

                         (t)     ..Agreement" has the meanmg set forth m the Preamble to this
         Agreement.

                         (g)    ·"Alphanna·' has the meaning set forth in the Recitals to this Agreement.

                        (h)     ..Alpham1a Subsidiarv.. means each subsidiary of Alphanna owning or
         controlling assets or having liabilities relating to the Business.

                         (i)    ·'API" means active pharmaceutical ingredient.

                         U)      ··Assets and Prope11ies·· of any Person means all assets and properties of
         any kind, nature, character and description (,,vhether real, personal or mixed, whether tangible or
         intangible, whether absolute, accrued, contingent. fixed or otherwise and \\·herever situated).
         including the goodwill related thereto. operated, ov.ned or leased by such Person. including cash,
         cash equivalents, accounts and notes receivable, chattel paper, documents, instruments. general
         intangibles, real estate. equipment, inYentory. goods and intellectual property.

                        (k)    ..Assumed Contract" means (i) each Contract relating to the Product. as in
         effect on the Closing Date that is set forth in Section 1.01 (k) of the Seller's Disclosure Schedule,
         and (ii) each Contract (or any portion thereof) that is assumed by the Buyer after the Closing
         Date pursuant to Section 8.23, excluding any Excluded Rights under any such Contract (or
         portion thereof).

                        (I)    --Assumed Liabilities·· means (i) all Liabilities and obligations that Buyer
         has expressly assumed or agreed to assume or perfonn under this Agreement, (ii) all Liabilities
         and obligations under or pursuant to the Assumed Contracts arising after the C losing, other than
         the Liabilities and obligations listed in items (ii)-(iv) of the Excluded Liabilities, (iii) any


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         obligations of Seller under an Assumed Contract to deliver Product following the Closing w1der
         pw-chase orders of Persons entered into prior to the Closing in the ordinary course of business for
         delivery of Product within thirty (30) days of the Closing Date and for which Buyer shall receive
         payment, (iv) all Liabilities and obligations to pay Rebates attributable to Product bearing any of
         Buyer's NOC numbers, (v) all Liabilities and obligations to pay GPO Administration Fees and
         IFF payments attributable to Product bearing any of Buyer's NDC numbers, (vi) all Liabilities
         and obligations to pay Chargebacks that are submitted to Buyer, Seller, or their respective
         Affiliates, with respect to Product bearing any of Buyer's NDC numbers, (vii} all Liabilities and
         obligations relating to recalls or product liability claims or threatened claims or injuries caused
         by Product sold by Buyer after the Closing, except to the extent that such Product was included
         in InYentory and was defective when delivered by Seller to Buyer hereunder, (viii) Seller' s
         obligations under the Federal Supply Schedule to supply the Product at the prices set forth in the
         Federal Supply Schedule after the Closing for the period required by applicable Law, (ix)
         Seller's obligations under Section 340B of the Public Health Services Act to sell Product at the
         prices required by applicable Law with respect to Product sold after the Closing Date, and (x) all
         other Liabilities and obligations that (A) arise out of or are related to the Purchased Assets
         (including the Regulatory Approval), the Product or the o,~-i1ership, operation or conduct of the
         Business by or on behalf of Buyer, its Affiliates or (sub)licensees, or their respective successors
         or assigns, (B) arise after the Closing, and (C) are not otherwise expressly excluded under this
         definition.

                       (m)    '·Authorized Generic Version" means any Product that is distributed under
         no trademark or under a trademark other than Kadian® .

                          (n)    --Books and Records" means all files, documents, instruments, papers,
         books and records (scientific, developmental, distribution, marketing, financial or other) owned
         by Seller and relating to the Product or the Business in the Territory, including any pricing lists.
         customer lists, vendor lists, financial data (including sales histories, sales force call activities and
         market studies}, Regulatory Documentation. clinical data, safety data, research and testing data
         and phannacology and toxicology data, validation documents and data, quality control histories,
         litigation. adverse claims or demands, investigation info1mation or files, trademark registration
         certificates, trademark renewal certificates, and other documentation relating to the Purchased
         Assets, the Product or the Regulatory Approval, but excluding any such items (i) to the extent
         that any applicable Law prohibits their transfer, (ii) that were specifically prepared by Seller for
         the negotiation of this Agreement, and (iii) to the extent such items are included in the definition
         of --Marketing Materials... The Parties acknowledge and agree that to the extent that any such
         Books and Records contain information that relates to any product other than the Product or to
         any business or operations of Seller other than the Business, such Books and Records may be
         copies and in any event shall be redacted to delete such information.

                        (o)     ··Business" has the meaning set fo11h in the Recitals to this Agreement.

                        (p)    '·Business Dav.. means a calendar day other than Saturday, Sunday or any
         other calendar day on which banks located in New York are authorized or obligated to close.

                        (q)     ''Buver.. has the meaning set forth in the Preamble to this Agreement.




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                       (r)   ..Calendar Ouaner"· means each successive period of three consecutive
         calendar months commencing on January 1, April I , July 1 and October I.

                        (s)    '·Chareeback'" means a credit, chargeback. reimbursement, purchase
         discount or other payment to any phannaceutical wholesaler or distributor in connection with the
         sale of a Product in the United States by such wholesaler or distributor to a customer at a
         discount price pursuant to a Contract between such customer and Seller or Buyer or pursuant to
         the Federal Supply Schedule or Section 340B of the Public Health Service Act, 42 U.S.C.
         Section 201 et. seq.

                       (t)     ··Chargeback Period" has the meaning set forth in Section 8. l 7(a).

                       (u)     '·Closing" has the meaning set fo11h in Section 5.01.

                       (v)     ·'Closin!! Date·· means the date that the Closing actually occurs as
         provided in Section 5.01.

                       (w)     ··Consultant"' has the meaning set forth in Section 8.17(a).

                         (x)   ··Contract" means any and all legally binding commitments, contracts,
         purchase orders. leases, licenses, security agreements or other agreements. whether V\ITitten or
         oral, including any amendments, supplements or modifications thereto.

                       (y)     '·Corporate   ames·' has the meaning set forth in Section 8.0S(a).

                        (z)    ··Costs of Goods Sold"' means, with respect to any period, Buyer·s actual
         direct costs to manufacture, or purchase from a third pa1ty, the Product sold in the Territory
         during such period. excluding the Purchase Price.

                         (aa) "Coupons·• means any coupons, vouchers, co-pay cards or similar
         promotional incentives distributed by A lphanna or any subsidiary of A lphamm prior to the
         Closing Date pursuant to which Alpharma or such subsidiary of Alpharrna is obligated to
         reimburse or pay a portion of the purchase price of the Product directly or indirectly to an
         eligible patient.

                       (bb)    ·'Dailv Sales Amount" has the meaning set fonh in Section 8. l 7(a).

                       (cc)    ··Dailv Utilization Amount"" has the meaning set forth in Section 8. l 7(b).

                       (dd)    '·Damages·' has the meaning set forth in Section I 2.02(a).

                        (ee)  '·DEA"" means the United States Drng Enforcement Administration, and
         any successor agency thereto.

                        (ff)   '·Detail'" means a face-to-face contact in which a Buyer sales
         representative makes a presentation, including selling message and features and benefits of the
         Product. to a medical professional with prescribing authority.




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                        (gg) ..Direct Cosf' means the cost of direct labor and direct materials used to
         provide the relevant assistance or service.

                        (hh) '·Embeda NOA., means New Drug Application 22-32 1 filed pursuant to
         the Federal Food, Drug. and Cosmetic Act and applicable FDA rules and regulations for
         marketing authorization of the phannaceutical product containing morphine sulfate as an active
         ingredient, knovm as Embeda, within the United States (including all additions, amendments.
         supplements, extensions and modifications thereto and the official regulatory files relating
         thereto).

                         (ii)    '·Encumbrance'· means any lien. pledge. hypothecation. charge, mortgage,
         security interest, encumbrance. claim. option, right of first refusal, preemptive right, community
         prope11y interest or restriction of any nature (including any restriction on any other asset and any
         restriction on the possession or exercise of any attribute or ownership of any asset).

                        Uj)     ··Excluded Assets·· means all Assets and Prope11ies of Seller, including the
         Licensed Intellectual Property, except the Purchased Assets.

                         (kk) ··Excluded Liabilities·' means all Liabil ities of Seller except the Assumed
         Liabilities, including (i) a ll Liabilities and obligations under any Contract other than the
         Assumed Contracts. (ii) all Liabilities and obligations of Seller to pay Rebates and Coupons
         pursuant to Section 8.16, (iii) all Liabilities and obligations of Seller to pay GPO Administration
         Fees and TFF payments pursuant to Section 8.19, (iv) all Liabilities and obligations of Seller to
         pay Chargebacks pursuant to Section 8.18, (v) all Liabilities of Seller for Taxes with respect to
         any taxable period, and all Liabilities for Taxes relating or attributable to the Product, the
         Business, the Purchased Assets or the sale, operating or use of any of the foregoing ,vith respect
         to any taxable period or po11ion thereof ending on or prior to the Closing Date, with any
         property, ad valorem or similar Taxes allocated to any period that includes but does not end on
         the Closing Date on a per d iem basis and (vi) any and all Liabilities of Seller accruing or arising
         prior to the Closing. including Liabilities with respect to any claim or action asset1ed after the
         Closing to the extent the conduct giving rise to such claim or action occuned prior to the
         Closing.

                         (II)   .. Excluded Rie.hts'' means, ,,.·itb respect to any Assumed Contract, any
         rights of any Seller Indemnified Party to seek and obtain defense and indemnification thereunder
         from any indemnifying party pursuant to the tem1s and conditions of the applicable Assumed
         Contract based on any Damages incurred by any Seller Indemnified Party. ,,vhether prior to, on
         or after the Closing Date, to the extent that such Damages (i) are attributable to occunences and
         circumstances arising prior to the Closing, and (ii) are otherwise subject, prior to the Closing, to
         an obligation of defense or indemnity by any indemnifying pai1y.

                        (mm) ..Execution Date" has the meaning set forth 111 the Preamble to this
         Agreement.

                       (nn) '·FDA"" means the United States Food and Drug Administration and any
         successor agency thereto.




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                        (oo) ..GAAP.. means generally accepted accounting principles, consistently
         applied, as applied in the United States.

                         (pp) --Generic Producf' means a drug product containing morphine sulfate as
         its sole active ingredient that refers to the Licensed Product as the reference-listed drug in an
         Abbreviated New Drug Application or pursuant to an application under 21 U.S.C. § 355(b)(2).

                         (qq) ··Govenunental or Re2ulatory Authoritv .. means any court, tribunal,
         arbitrator, authority, agency. commission, official or other instrumentality of the United States or
         other country, or any supra-national organization, state. county, city or other political
         subdivision.

                        (rr)   ··GPO Administration Fee" means any administration. service or similar
         fee paid to a group purchasing organization, buying group or similar organization pursuant to a
         Contract bet,veen Seller or Buyer and such group purchasing organization. buying group or
         similar organization relating to the sale of Product to members of or participants in such group
         purchasing organization, buying group or similar organization.

                         (ss)   ··Gross Profit"" means, with respect to any period. (i) Net Sales for such
         period, less (ii) Cost of Goods Sold for such period, less (iii) an amount equal to five percent
         (5%) of Net Sales for such period (as an allowance for handling and distribution costs).

                      (tt)   ··IFF" means the industrial funding fee payable to the United States
         Deprutment of Veterans Affairs in connection with the sale of the Product to the United States
         Department of Veterans Affairs under the Federal Supply Schedule, as in effect from time to
         time.

                        (uu)    --Indemnification Claim Notice·· has the meaning set forth m Section
         12.02(c).

                        (vv)    "Indemnified Partv" has the meaning set forth in Section 12.02(c).

                        (v.w) ·'Indenmifyine Pa1tv.. has the meaning set forth in Section 12.02(c).

                       (xx) "Inventon·'· means all inventory in whole lots of Product ow11ed as of the
        Closing by Seller in finished, packaged fom1, whether held at a location or faci lity of Seller (or
        of any other Person on behalf of Seller) in the Territory. or in transit within the Territory to or
        from Seller (or any such other Person).

                      (yy) "Kadian'· means pharmaceutical product (i) approved for distribution
        under the Regulatory Approval in the Teuitory in any dosage or form. whether or not distributed
        under the Trademark Kadian® or (ii) otherwise marketed or sold by Seller in the Territory under
        the Trademark Kadian® as of the Closing Date.

                       (zz) " Kadian Patents·· means United States patent number 5,202, 128, United
        States patent number 5,378,474, and United States patent number 5,330,766. and any
        continuations, continuations-in-part, divisionals, reexaminations. reissues and extensions thereof.



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                        (aaa) --Knov, ledge of Kirn(' means the actual knowledge of those employees
                                       1


         who hold the position of vice president or are more senior at King that were engaged in the
         diligence of acquisition of Alpharma by King, including but not limited to, the following people.
         without any duty to conduct an investigation: Eric Carter, Ken Touw, Brad Knoll, Chris
         McClendon, James Elrod and Mary Flipse.

                         (bbb) "Law.. means any federal, state or local law, statute or ordinance, or any
         rule, regulation, or published guidelines or pronouncements promulgated by any Governmental
         or Regulatory Authority.

                        (ccc) "Liability" means any debt, liability, losses. damages, cost, expenses and
         obligations of every kind (whether fixed or contingent, known or unknown. asse1ted or
         unasserted, absolute or contingent, accrued or unaccrued, liquidated or unliquidated, or due or to
         become due), including any liability for Taxes.

                          (ddd) " License Tem1'· means the period commencing on the Closing Date and
         ending on the earlier of (i) the date of expiration of the last to expire of the Licensed Patents and
         (i i) the date on which a com1 enters a final decision from which no appeal has been or can be
         taken holding that all claims of the Licensed Patents that would otherwise be infringed by the
         making. having made, using, selling, offering for sale or importation of any Licensed Product or
         Generic Product are unenforceable or invalid.

                         (eee) '•Licensed Intellectual Property·• means all Product Patents (including the
         Kadian Patents), unpatented inYentionsi know-how, trade secrets, technical data (including the
         Seller Data), trade dress, and package designs owned or controlled by Sellers and their Affiliates
         that are not exclusively related to the Product and that would be infringed or violated by the
         making, having made, using, selling, offering for sale or importation of the Licensed Product in
         the Tenitory.

                        (fff) ·•Licensed Patents'· means United States patent number 5,202, 128 and
         United States patent number 5.378,474, and any continuations, continuations-in-part. divisionals,
         reexaminations, reissues and extensions thereof

                        (ggg) --ucensed Product'" means the Product in the dosage strengths and
         fo1mulations approved for distribution in the Territory pursuant to the Regulatory Approval as of
         the Closing Date and manufactured in accordance with the manufacturing process used as of the
         Closing Date, including, after the C losing Date, any Minor Changes.

                        (hhh) ··Marketin!l Materials.. means all market research, marketing plans and
         strategies, media plans. advertising, fon11 letters, sales force training materials, advertising.
         promotional and marketing data and materials (including competitor infom1ation. product data,
         market intelligence reports and marketing and sales statistical programs), advertising and
         promotional materials and literature, mailing lists, sales data and detailing reports,
         reimbursement data, customer information (including customer sales infom1ation, sales
         forecasting models, medical educational material s. website content and adYertising and display
         materials and speakers lists), packaging artwork and television masters. in each case (i) ovv11ed
         by Seller and used exclusively in connection with the marketing, advertising and promotion of



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         the Product in the TeITitory that Seller. in its sole discretion, determines to transfer to Buyer and
         (ii) to the extent that Seller is able to share such materials with Buyer without violation of any
         thfrd party agreement; provided that --Marketing Materials"' shall exclude the labeling of the
         Product, which shall be deemed pa11 of the Regulatory Approval.

                         (iii)   '·Material Adverse Effect" means an effect, condition or change that
         individually or in the aggregate is materially adverse to the Purchased Assets taken as a ,vhole or
         the business, results of operations, or financial condition of the Business taken as a whole. other
         than changes in general economic or market conditions or changes or developments generally
         affecting the pharmaceutical industry.

                        (ijj)   --Mern.er AQreement" has the meaning set forth in the Recitals to this
         Agreement.

                        (kkk) "Minor Chamies'· means changes to the Licensed Product that would not
         cause the manufacture, use or sale of the Licensed Product to fall within the Licensed Intellectual
         Property ov,:ned or controlled by Seller or its Affiliates after the Closing Date. other than the
         Kadian Patents.

                        (lll)   ·'NOC" means the unique identifying number assigned to a drug product,
         including the labeler code, product code and package code, in connection with the drug listing
         requirements of Section 51 O(i) of the Federal Food, Drug, and Cosmetic Act and applicable FDA
         rules and regulations.

                         (mmm)..N et Sales'· means, with respect to any period, the gross sales recorded by
         Buyer and its Affiliates or sublicensees, on its books and records, in accordance with GAAP. for
         sales of the Product to third parties in the Ten-itory during such period, less (if not already
         deducted or reflected in the amount recorded and to the extent actually allO\,ved by Buyer) (i)
         trade and quantity discounts, Rebates. Chargebacks paid by Buyer, GPO Administrative Fees
         paid by Buyer, and IFF paid by Buyer and other ordinary course administrative or promotional
         fees, (ii) repayments. credits and allowances to customers on account of ordinary course
         promotional allowances, rejection, withdrawal, recall. or return of the Product or on account of
         retroactive price reductions affecting the Product, and (iii) customary cash discounts ('·fast pav"),
         which, in each case ((i), (ii). and (iii)). for the avoidance of doubt, shall be paid in accordance
         with GAAP and shall not include \\Tite-offs, bad debts or freight, insurance and handling costs,
         Taxes and expenses for all activities related to the distribution of the Product incurred by Buyer.
           'et Sales with respect to sales of the Product that are not made on an ann · s length basis or that
         are made for consideration other than cash shall be calculated based on the average per-unit Net
         Sales of the Product during the applicable period without regard to such non-ann' s length or
         non-cash sales. If the Product is sold with other products on a pm1folio basis, any commercially
         reasonable discounts or other adjusunents v,1ith respect to the Product shall be allocated pro rata
         across all products in such portfolio based on the non-discounted. non-adjusted price for each
         such product. In the event that one or more Authorized Generic Versions arc sold by an AG
         Distributor. (A) sales from Buyer or its Affiliates to an AG Distributor shall not be included in
         Net Sales and (B) such AG Distributor' s sales to third pai1ies shall be included in Net Sales.




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                        (nnn) ·'Order·' means any writ, judgment, decree. injunction. charge, ruling or
         similar order of any Governmental or Regulatory Authority (in each such case whether
         preliminary or final).

                         (ooo) --Partv·' means either Buyer or Seller. ··Parties.. means Buyer and Seller,
         collectively.

                         (ppp) --Patent" means (i) all patents, patent applications and statutory invention
         registrations. lii) any substitutions, divisions. continuations. continuations-in-part, reissues,
         renewals, registrations, confinnations. re-examinations, extensions. supplementary protection
         ce11ificates and the like, and any provisional applications, of any such patents, patent application
         or statutory invention registrations, (iii) a ll inventions disclosed in the foregoing, (iv) all rights
         therein provided by international treaties and conventions, and (v) all rights to obtain and file for
         patents and registrations thereto anywhere in the Tenitory.

                        (qqq) ··Pennitted Encumbrance" means (i) any Encumbrance for Taxes not yet
         due or delinquent or for those Taxes being contested in good faith by appropriate proceedings for
         which adequate reserves have been established and (ii) any Encumbrance that does not
         materially detract from the value of, or interfere with the present use of, the properties or assets it
         affects.

                        (m-) ·'Person.. means any natural person, corporation, general partnership,
         limited partnership, limited liability company. proprietorship, other business organization, trust.
         union, association or Governmental or Regulatory Authority.

                         (sss)   '·Product"· means Kadian.

                        (ttt)    .. Product Copvrii?hts'· means any and all copyrights ovmed by Seller
         relating exclusively to the Product, including copyrights in Marketing Materials for the Product.

                           (uuu) '·Product Domain Names.. means (i) the domain names set forth in Section
         l .0 l (uuu) of the Seller's Disclosure Schedule and (ii) any other domain name owned by Seller as
         of the Closing Date the includes the word " Kadian".

                        (wv) ·'Product rND.. means Im·estigational New Drug Application 35,553 fi led
         in accordance v,:ith Section 505(i) of the Federal Food, Drug, and Cosmetic Act, as amended, and
         applicable FDA rules and regulations (including all additions, amendments. supplements.
         extensions and modifications thereto and the official regulatory files relating thereto).

                       (wv,w) ..Product Intellectual Propertv.. means the Product Copyrights, Product
         Know-How, Product Marks and Product Trade Dress, in each case relating to the Territory, and
         the Product Domain Names.

                         (xxx) ..Product Know-How.. means any research and development infonnation.
         validation methods and procedures, unpatented inventions, know-how. trade secrets or technical
         data (including clinical data and safety data) or infonnation that exclusively relate to the Product
         or the Business and are owned by Seller, other than such know-how that is or becomes the
         subject of a Patent.


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                       (yyy) '·Product Mark(s)'· means (i) the Trademark ..Kadian@·' and (ii) such other
         Trademark(s) owned by Seller and exclusively used in connection v,·ith the Product.

                         (zzz) ..Product Patent"' means all Patents in the Territory owned or controlled by
         Seller that claim the Product or the manufacture, use or sale of the Product.

                          (aaaa) ..Product Trade Dress" means the trade dress, package designs. product
         inse11s, labels and associated artwork ovmed by Seller that is used exclusively in connection ,,.,·ith
         the Product, the packaging thereof or the Business, excluding all Seller Brands used thereon
         other than the Product Marks.

                         (bbbb) ..Public FilinQ:s" means all of Alphanna's periodic repo11s and registration
         statements filed or furn ished on EDGAR with the Securities and Exchange Commission under
         the Securities Exchange Act of 1934 or Securities Act of 1933.

                        (cccc) ..Purchase Price" shall have the meaning set forth in Section 4.0l(a).

                          (dddd) ··Purchased Assets" means: (i) the Assumed Contracts; (ii) the Marketing
         Materials; (iii) the Books and Records; (iv) the Regulatory Approval; (v) the Inventory, (vi) the
         Product Intellectual Prope11y and (vii) the Product IND. The Purchased Assets do not include
         any fixed assets, entities, the Seller Data or the Licensed Intellectual Property.

                        (eeee) ..Reasonable Best Efforts·• means such prompt, substantial and persistent
         efforts as a prudent Person desirous of achieving a result would use in simi lar circumstances;
         provided, that the Paities shall be required to expend only such resources to achieve such results
         as are commercially reasonable in simi lar circumstru1ces.

                        (ffff) '·Rebate'· means any rebate payable pursuant to (i) state Medicaid or other
         state and goYemmental phannaceutical assistance programs or (ii) Contracts bet\veen Seller or
         Buyer and managed care organizations (including phannacy benefit management companies,
         health plans and insurance companies), in each case relating to utilization of the Product in the
         United States during any particular period.

                        (gggg) ·'Rebate Period .. has the meaning set forth in Section 8.17(b).

                         (hhhh) ..Reeulatorv ApproYal .. means the New Drug Application 20-616 filed
         pursuant to Section 505(b)( 1) of the Federal Food. Drug, and Cosmetic Act and applicable FDA
         rules and regulations for marketing authorization of the Product within the United States
         (including all additions. amendments, supplements, extensions and modifications thereto and the
         official regulatory files relating thereto).

                         (iiii) ..Regulatory Documentation'· means (i) registrations or applications for, or
         other filings or submissions with respect to. the Regulatory Approval or the Product, including
         regulatory compliance reports and other reports, and other \>vTitten materials filed as part of or
         referenced in, the Regulatory Approval, and the risk management plan w ith respect to the
         Product, (ii) any other filings or submissions with respect to the Product with any Governmental
         or Regulatory Authority in the Territory other than the FDA ru1d (iii) written communications.



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         and written summaries and minutes of other communications. with the FDA or other
         Govenunental or Regulatory Authorities to the extent relating to any of the foregoing.

                         (jjjj) ..Seller" means King and, from and after the Closing, shall also include
         Alpharma and any subsidiary of Alpharma ovming or controlling assets or having liabilities
         relating to the Business, jointly and severally, or if the context so requires individually.

                        (kkkk) ..Seller Brands" means all Trademarks owned by. licensed to, controlled
         by or used by Seller, whether or not registered, including the name " King·', but excluding the
         Product Marks and excluding any trade dress rights in the shape. configuration, coloring or
         appearance of the Product or its packaging as sold by Seller before the Closing Date.

                         (1111) ··Seller Data" means the clinical data, safety data and other infonnation
         that is included or referenced in the Regulatory Approval as of the Closing Date, but excluding
         the Product Know-How.

                        (mmmm)          ' ·Seller's Disclosure Schedule.. has the meaning set forth in Article
         VJ.

                        (nnnn) .. Seller Indemnified Parties·' has the meaning set forth in Section l 2.02(b).

                         (0000) "Solvent"' means, with respect to any Person on a panicular date, that at
         fair valuations, the sum of such Person's assets is greater than all of such Person's debts.

                          (pppp) ··Tax'' means any and aJI taxes, customs, duties, fees or other like
         assessments, charges or Liabilities imposed by any governmental, regulatory or administrative
         entity or agency responsible for the imposition of any amount, including (i) any net income.
         alternative or add-on minimum tax, gross income, gross receipts, sales, use, ad valorem, transfer,
         franchise, profits, license, excise, severance. stamp. occupation. premium, prope1ty, withholding,
         employment, payroll, recapture, environmental or windfall profit tax; (ii) any Liability for the
         payment of any amounts of the type described in clause (i) aboYe as a result of being a member
         of any affiliated, consolidated, combined, unitary or other group for any Taxable period; and (iii)
         any Liability for the payment of any amounts of the type described in clause (i) or (ii) above as a
         result of any express or implied obligation to indemnify any other Person. and including any
         liability for ta~es of a predecessor or transferor or otherwise by operation of lav,,.

                         (qqqq) ..Tax Return·· means any return. fom1, estimate, infom1ation statement or
         report relating to Taxes. including any attaclunent, appendix, addendum or amendment.

                        (1n-r)     ·'Territory" means the United States.

                        (ssss) "Third Party Claim'· has the meaning set fo11h in Section 12.02(d).

                        (tttt)   ·'Toll Manufacturin2 Aereement" has the meaning set forth in Section
         8.20(a).

                         (uuuu) "Trademark" means trademarks, service marks, certification marks, trade
         dress, Internet domain names, trade names, product names, company names and any other source


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         identifying symbols. designs. slogans. logos or insignia. whether registered or unregistered, and
         all common law rights, applications and registrations therefor, and all goodwill associated
         therewith.

                        (vvvv) ''United States" means the United States of America, its territories and
         possessions, including Washington, D.C. and Puerto Rico.

                        Section 1.02 Construction of Certain Terms and Phrases.

                          Unless the context of this Agreement otherwise requires: (a) words of any gender
         include each other gender; (b) words using the singular or plural number also include the plural
         or singular number, respectively; (c) the tenns ··hereof," '·herein:· ··hereby" and derivative or
         similar v-.-ords refer to this entire Agreement; (d) the tenns ··Article·' or ··Section·' refer to the
         specified Article or Section of this Agreement; (e) the tem1 '·or'· has, except where otherwise
         indicated, the inclusive meaning represented by the phrase '·and/or·': (t) the terms ••including··
         and ••includes.. mean ••including without limitation·= and ·'includes without limitation,"
         respectively; and (g) a reference to a Law includes any amendments or modifications to such
         Law. Whenever this Agreement refers to a number of days, such number shall refer to calendar
         days unless Business Days are specified.

                                                    Article 0 .
                                            Purchase and Sale of Assets

                        Section 2.01 Purchase and Sale of Assets

                          (a)       Subject to the tenns and conditions of this Agreement. at the Closing.
         Seller shall sell, transfer, convey, assign and deliver to Buyer, and Buyer shall purchase, acquire
         and accept from Seller, free and clear of any Encumbrance, other than a Pem1itted Encw11brance,
         all of Seller's right, title and interest, as of the Closing, in and to the Purchased Assets.

                         (b)    From and after the Closing, Seller shall retain all of its right, title and
         interest in and to the Excluded Assets and Seller may retain an archival copy of all Assumed
         Contracts, Books and Records (or with respect to any Books and Records that contain
         infonnation that relates to any product other than the Product or to any business or operation of
         Seller and its applicable subsidiaries other than the Business. the original Books and Records),
         Marketing Materials and other documents or materials conveyed hereunder.

                        (c)    King shall cause Alpharma and each Alpharma Subsidiary to perforn1 an
         obligations required of it as a Setler under this Agreement.

                         (d)    Prior to the C losing, Seller shall use commercially reasonable efforts to
         obtain all consents required for the assignment to Buyer of the Contracts listed on Schedule
         1.0 I (k). If such consent is not obtained prior to the Closing, (a) Seller shall continue to use
         commercially reasonable efforts to obtain such consent and (b) Seller and Buyer shall cooperate
         in a mutually agreeable arrangement under which Buyer v,:ould obtain the benefits and assume
         the obligations under such Contract in accordance with this Agreement. and under which Seller
         would enforce for the benefit of the Buyer. with Buyer assuming Seller's obligations. any and all
         rights of Seller against a third pa11y thereto. To the extent, and only to the extent, that the


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         benefits an smg therefrom and obligations thereunder have been provided by alternative
         arrangements as provided above, such Contract (or any portion thereof) shall be deemed an
         Assumed Contract, provided that Buyer shall not be responsible for any Liabilities (i) arising out
         of a claim of breach of such Contract due to the establishment of the alternative arrangements, or
         (ii) arising out of such Contract as a result of Seller's action without Buyer"s approval in a
         manner inconsistent with the alternative arrangements.

                                                  Article III.
                                             Assumption of Liabilities

                        Section 3.01    Assumption of Assumed Liabilities

                       Subject to the tem1s and conditions of this Agreement, as of the Closing Date,
         Buyer agrees to assume, satisfy, perfon11, pay and discharge only the Assumed Liabilities.

                        Section 3.02 Excluded Liabilities

                       Seller shall retain and remain solely responsible for, and shall satisfy, perfonn,
         pay and discharge when due, any and all Excluded Liabilities.

                                                   Article IV.
                                           Purchase Price and Payment

                        Section 4.01    Purchase Price

                        As full and complete consideration for the Purchased Assets, Buyer shall:

                         (a)    pay. or cause to be paid the following amounts (together, the ··Purchase
         Price·') in immediately available funds by wire transfer into an account designated by Seller not
         later than three Business Days prior to the date such payment is due:

                                (i)     not later than fmty-five (45) days (or, upon the certification by
         Buyer to Seller prior to such forty-fifth (45th) day that it has not collected sufficient receivables
         with respect to the Product to enable it to pay such amount by such forty-fifth (45th) day. fifty-
         five (55) days) following the last day of the first Calendar Quarter of 2009, £30,000,000:

                              (ii)   not later than thirty (30) days following the last day of the second
         Calendar Quarter of 2009. $25.000.000. plus any unpaid amounts previously payable pursuant to
         Section 4(a)(i):

                              (iii)  not later than thi1ty (30) days following the last day of the third
         Calendar Quarter of 2009. $25,000,000, plus any unpaid amounts previously payable pursuant to
         Section 4(a)(ii);

                              (iv)   not later than thirty (30) days followi ng the last day of the foun h
         Calendar Quarter of 2009, $20,000,000, plus any unpaid amounts previously payable pursuant to
         Section 4(a)(iu );




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                               (v)     not later than thirty (30) days following the last day of the first
         Calendar Quarter of 20 I 0, $20,000,000, plus any unpaid amounts previously payable pursuant to
         Section 4(a)(iv); and

                              (vi)     not later than thirty (30) days following the last day of the second
         Calendar Quarter of 20 I 0. $7,500,000. plus any unpaid amounts previously payable pursuant to
         Section 4(a)(v);

        provided, however, that no payment pursuant to any of Sections 4.01 (a)(i) through 4.01 (a)(vi)
         following any single Calendar Quarter shall, when combined with all prior payments made by
         Buyer pursuant to Section 4.0l(a), exceed the aggregate amount of Gross Profits for the period
         begmning on January 1, 2009 and ending on the last day of such Calendar Quarter; provided
        .further, however, that any amount that is not paid by reason of the fo regoing proviso shall be
         deemed to be ·'payable·· but ··unpaid" for the purposes of Section 4(a)(ii) through Section
         4(a)(vi), but in no case shall the application of this proviso cause the cumulative Purchase Price
         to exceed the lesser of (A) $127.500,000 and (B) the Gross Profits for the period from January 1,
         2009, through June 30.201 O;

                       (b)    not later than the date on which the payment in Section 4.01 (a)(i) is due,
         pay the Aggregate Inventory Amount as determjned in accordance with Section 4.02; and

                        (c)    assume the Assumed Liabilities at Closing.

                        Section 4.02 Inventory Payment

                       (a)    On the day immediately following the Closing Date, representatives of
         Buyer and Seller shall count the number of finished packages of the Product included in
         Inventory where such Inventory is located.

                         (b)    The '·Ag!!re!!ate Inventorv Amount°' shall mean the aggregate cost paid or
         payable by Seller to the manufacturer of the Inventory (other than Inventory \vith a remaining
         shelf life of less than twelve (12) months) for all of the Inventory included in the Purchased
         Assets.

                        (c)    Not later than the date on which the payment in Section 4.0l(a)(i) is due.
         Buyer shall pay to Seller the Aggregate lnventory An1ow1t in immediately avai lable funds by
         wire transfer into an account designated by Seller not later than three (3) Business Days after
         such count.

                        Section 4.03 Allocation of Purchase Price

                         Promptly following the Closing, Seller and Buyer shall agree in good faith on an
         allocation of the Purchase Price among the Purchased Assets. Buyer and Seller agree (a) to
         repo11 the sale and purchase of the Purchased Assets for Tax purposes in accordance with such
         allocations and (b) not to take any position inconsistent with such allocations on any of their
         respective tax returns. All payments made pursuant to Article XII shall be deemed adjustments
         to the Purchase Price.



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                        Section 4.04   Payment of Sales, Use and Other Taxes

                        Buyer shall be solely responsible for all sales, use, transfer, value added, gross
         receipts and other similar Taxes, if any, arising out of the sale by Seller of the Purchased Assets
         to Buyer pursuant to this Agreement.

                        Section 4.05 Statements and Audit Rights

                        (a)    Any payment under Section 4.01 (a) that is based upon Gross Profits shall
         be accompanied by a statement of the amount of Gross Profits during the applicable period
         represented by such payment.

                         (b)     Buyer shall, and shall cause its sublicensees and AG Distributors, to
         maintain at a location in the United States, complete and accurate books and records in such
         detail as is necessary to accurately calculate the amounts payable to Seller under this Agreement.
         Such books and records shall be maintained for a period of at least five (5) years after the end of
         the Calendar Quarter in which they were generated, or for such longer period as may be required
         by applicable Law. Once per each calendar year and for a period of two (2) years after the end
         of the second Calendar Quarter of 20 I 0, Seller shall have the right upon reasonable prior notice
         to have an independent accounting fim1 reasonably acceptable to Buyer audit and examine the
         relevant books and records as may be reasonably necessary to dete1111ine and/or verify the
         amount of payments due herew1der and Buyer's compliance with its obligations hereunder;
         provided. however, that Seller shall not have the right to conduct such an audit until the
         expiration of the Licensed Patents. Such audit and examination shall be conducted and shall take
         place, and Buyer shall, and shall cause its Affiliates, sublicensees. AG Distributors and third
         party distributors of Authorized Generic Versions to, make such books and records available,
         during nonnal business hours at the faci lity(ies) where such books and records are maintained.
         Each such audit and examination shall be limited to pertinent books and records for any Calendar
         Qua11er ending not more than tv,enty-four (24) months prior to the date of the audit. Before
         pennitting such independent accounting firm to have access to such books and records, Buyer
         may require such independent accounting firm and its personnel involved in such audit to sign a
         customary confidentiality agreement in form and substance reasonably acceptable to Buyer as to
         any confidential information which is to be provided to such accounting fim1 or to which such
         accounting firm will have access while conducting the audit under this Section. The independent
         accounting firn1 will prepare and provide to Seller and Buyer a written report stating only
         whether the reports submitted and amounts paid pursuant to this Agreement were correct or
         incorrect, and the amounts of any discrepancies. In the event that such repo11 indicates that there
         was an underpayment or overpayment by Buyer of any amount to Seller hereunder, Buyer or
         Seller, as the case may be, shall promptly (but in no eYent later than thirty (30) days after its
         receipt of the independent accountant's report so concluding) make payment to the other of the
         amount of such underpayment or overpayment. Setler shall bear all costs and expenses of any
         such audit, except that if any audit discloses an underpayment or overpayment by Buyer with
         respect to any audit period in excess of five percent (5%) of the aggregate amount required to be
         paid with respect to such audit period, all costs and expenses of the audit, including the expenses
         of the independent accounting firm, shall be borne and promptly paid by Buyer.




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                                                     Article V.
                                                      Closing

                        Section 5.01   Time and Place

                         Unless this Agreement is earlier tenninated pursuant to Article Xlll, the closing
         of the transactions contemplated by this Agreement, including the purchase and sale of the
         Purchased Assets and the assumption of the Assumed Liabilities (the ·'Closin!!'} shall take place
         automatically. and the conveyances to be made at Closing are hereby made by the parties and
         shall be effective without any further action by any party, immediately following the satisfaction
         or waiver of the conditions set forth in Articles IX and X.

                        Section 5.02 Deliveries at Closing

                          (a)     ClosinQ Deliveries bv Seller. Effective as of the Closing. Seller hereby
         sells, assigns and conveys to Buyer the Purchased Assets and assigns to the Seller the Assumed
         Liabilities. Effective as of the Closing, Buyer hereby accepts the Purchased Assets and assumes
         and agrees to perfonn the Assumed Liabilities. At the Closing, Seller shall deliver or cause to be
         delivered to Buyer: a letter from Seller to the FDA duly executed by Seller transferring the rights
         to the Regulatory Approval to Buyer; and such bills of sale, assignment and assumption
         agreements and other instruments of assignment, conveyance and transfer as are necessary to
         effect and confirm the sale. transfer, conveyance, and assigm11ent of the Purchased Assets and
         the assumption of the Assumed Liabilities (provided, hoH·ever. that the failure to execute or
         deliver any such agreement or instrument shall not affect the effectiveness of any sale;
         assignment and conveyance and assumption effected hereby, or the obligations of the pa11ies at
         Closing). As soon as reasonably practicably following the Closing, and in any event no later
         than ten ( I 0) days after the Closing, Seller shall deliver the Marketing Materials and the Books
         and Records.

                         (b)    Closing Deliveries bv Buyer. At the Closing, Buyer shall deliver or cause
         to be del ivered to Seller: a letter from Buyer to the FDA duly executed by Buyer agreeing to
         assume certain obligations ,,~th respect to the Regulatory Approval; and such bills of sale,
         assignment and assumption agreements and other instruments of assignment, conveyance and
         transfer as are necessary to effect and confinn the sale. transfer, conveyance, and assignment of
         the Purchased Assets and the assumption of the Assumed Liabilities (pro,·ided, however. that the
         failure to execute or deliver any such agreement or instrument shall not affect the effectiveness
         of any sale, assignment and conveyance and assumption effected hereby or the obligations of the
         pa11ies at Closing).

                                                  Article VI.
                                    Representations and Warranties of Seller

                        Seller represents and warrants to Buyer as of the date of this Agreement, subject
         to such exceptions as are specifically disclosed in the disclosure schedules supplied by Seller to
         Buyer and attached to this Agreement (the ..Seller· s Disclosure Schedule··), as follows:




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                        Sectioa 6.01 Organization, Etc.

                         King is a corporation duly organized, validly existing and in good standing under
         the laws of Tennessee and has all requisite power and authority to own its assets and carry on its
         business as currently conducted by it. Alpharma and each Alphan11a Subsidiary is a corporation.
         limited liability company or pa11nership duly organized, validly existing and in good standing
         under the laws of its jurisdiction of organization and has all requisite power and authority to own
         its assets and carry on the Business as currently conducted by it. King, Alpharma and each
         Alpharrna Subsidiary is duly authorized to conduct its business and is in good standing in each
         jurisdiction where such qualification is required, except for any jurisdiction where failure to so
         qualify would not reasonably be expected to have a Material Adverse Effect or materially impair
         or delay Seller's ability to perfonn its obligations hereunder.

                        Section 6.02 Authority of Seller

                          King has, and at the Closing Alpham1a and each Alpharma Subsidiary v,:iJI have,
         all necessary power and authority to enter into this Agreement and to ca1Ty out the transactions
         contemplated hereby. The execution, delivery and perfonnance by King of its obligations under
         th.is Agreement have been duly and validly authorized and no additional corporate or shareholder
         authorization or consent is required in connection v,·ith the execution, delivery and perfo1mance
         by King of this Agreement. This Agreement has been duly and validly executed and delivered
         by King and, when executed and delivered by Buyer, will constitute a legal, ,·alid and binding
         obligation of King enforceable against it in accordance with its terms except (a) as limited by
         applicable bankruptcy, insolvency, reorganization, moratorium and other laws of general
         application affecting enforcement of creditors rights generally. and (b) as limited by Laws
         relating to the availability of specific perfom1ance, injunctive relief or other equitable remedies.

                        Section 6.03 Consents and Approvals

                         (a)    No consents, waivers, approvals. Orders or authorizations of, or
         registrations, declarations or filings with, any Governmental or Regulatory Authority are
         required by or with respect to Seller in connection with the execution and del ivery of this
         Agreement by Seller or the perfonnance of its obligations hereunder, except for such consents,
         waivers, approvals, Orders or authorizations the fai lure to obtain which, and such registrations.
         declarations or filings the failure to make which, would not reasonably be expected to have a
         Material Adverse Effect on the Business or materially impair or delay Seller' s abi lity to perfom1
         its obligations hereunder.

                         (b)     No consents, v..·aivers, approvals, or authorizations of, or notices to, any
         third party (other than a Govenm1ental or Regulatory Authority) that are required by or with
         respect to Seller in connection with the execution and delivery of this Agreement by Seller or the
         performance of its obligations hereunder, except for such consents. waivers. approvals, or
         authorizations the failure to obtain which. and such notices the failure to give which, would not
         reasonably be expected to have a Material Adverse Effect or materially impair or delay Seller' s
         ability to perfom1 its obligations hereunder.




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                        Section 6.04 Non-Contravention

                         The execution and delivery by King of this Agreement does not, and the
          performance by Seller of its obligations under this Agreement and the consummation of 'the
          transactions contemplated hereby wi ll not:

                        (a)     conflict with or violate any provisions of the organization documents of
          Seller:

                         (b)     conflict \•vith or result in a violation or breach of any tem1 or provision of
         any Lav,, applicable to King, Alpham1a and each Alphanna Subsidiary, the Business or the
         Purchased Assets, other than breaches and violations that, in the aggregate, would not reasonably
         be expected to have a Material AdYerse Effect or materially impair or delay Seller' s ability to
         perfon11 its obligations hereunder; or

                         (c)    conflict with or result in a breach or default (or an event that, with notice
         or lapse of time or both, would constitute a breach or default) under. or tem1ination of, any
         Assumed Contract or any other Contract to which Seller is a pa11y or by which Seller or any of
         its assets is bound, other than such confl icts, breaches or defaults as v,.-o uld not reasonably be
         expected to have a Material Adverse Effect.

                        Section 6.05 SolvenC)'

                        (a)     King, A lpha1ma and each Alpharma Subsidiary is Solvent.

                         (b)    No transfer of property is being made by Seller and no obligation is being
         incuned by Seller pursuant to this Agreement wi th the intent to hinder, delay or defraud either
         present or future creditors of Seller.

                        Section 6.06 Title

                         Seller will have as of Closing, and upon transfer of the Purchased Assets to Buyer
         at Closing as contemplated by this Agreement Buyer shall acquire. good and marketable title
         thereto free and clear of any Encumbrance. other than Permitted Encumbrances.

                        Section 6.07 Litigation

                        To the Knowledge of King, (a) there are no material claims. actions, suits or
         proceedings pending or. any investigation by any GoYernmental or Regulatory Authority
         pending against any Seller or any of their respectiYe properties or rights in connection v-.iith the
         Business or the Purchased Assets, (b} neither Seller nor any of its respective properties or rights
         is subject to any outstanding Order in connection with the Purchased Assets and (c) no third
         party, including any of its employees. has any cause for filing. threatening or contemplating any
         material claim, action, suit or proceeding or investigation against any of them in connection with
         the Business or the Purchased Assets.




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                         Section 6.08 Purchased Assets

                         (a)    To the Knowledge of King, there are no pending claims, disputes,
         litigation or proceedings challenging any of Seller's right, title or interest in, or Seller's use of,
         the Purchased Assets and there are no facts which would provide a basis for any other Person to
         claim that it owns, possesses or controls any rights in any of the Purchased Assets.

                         (b)     A true and complete copy o f the executed version of each agreement listed
         in Section 1.01 (k) of the Seller's Disclosure Schedule bas been p rovided to the Buyer prior to
         execution of this Agreement.

                         (c)     To the KJ1owledge of King, Seller is not in breach of any of the Assumed
         Contracts listed in Section 1.0 I (k) of the Seller's Disclosure Schedule, and no third party has
         notified Seller of any breach thereof.

                         (d)    Except to the extent resulting from any action or inaction by Buyer or its
         Affiliates, at the time of delivery to Buyer or its designee, all Inventory (i) conforms in all
         respects to the specifications and requirements of the Regulatory Approval for the Product, (i i)
         has been stored, transported and handled in compliance with all current Good Manufacturing
         Practices applicable to phannaceutical products sold in the Te1Titory and (ii) is not adulterated or
         misbranded.

                         Section 6.09 Regulatory

                         (a)    To the Kllowledge of King. and except as disclosed in the Public Filings.
         the operation of the Business. including the manufacture, impo11, export, testing, development,
         processing, packaging, labeling, storage, marketing, and distribution of the Product in the
         Territory, is and has been in material compliance for the last three (3) years with all applicable
         Laws.

                        (b)      To the Kllowledge of King, during the three (3) year period ending on
         December 10, 2008. Seller has not had any Product or manufacturing site for the Product subject
         to a Governmental or Regulatory Authority (including FDA) shutdown or impo11 or export
         prohibition, nor recei\·ed any FDA Fom1 483 or other material Governmental or Regulatory
         Authority notice of inspectional observations, --v..·aming letters,'· or '·untitled letters" with respect
         to the Product or the Business or any requests or requirements to make changes to the Products
         that if not compHed -with would reasonably be expected to result in a material liability to the
         Seller or the Business.

                       (c)    To the Knowledge of King, Seller has fi led, or caused to be filed, with the
         applicable Governmental and Regulatory Authorities all material required notices and reports,
         including adverse experience reports, ,1v·ith respect to manufacture, deYelopment, marketing and
         other commercial exploitati on of the Product in or for the Territory.

                        (d)   To the Knowledge of King, neither Seller, nor any Person ,vorking for or
         with Seller in perform ing or rendering, any activities or services related to the Business,
         including the development, use or commercialization of the Product, has ever been or is currently
         debarred by the FDA or any other Governmental or Regulatory Authority, nor has any such


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         Person been convicted of any crime or engaged in any conduct that would reasonably be
         expected to result in exclusion under 42 U.S.C. Section l 320a-7 or any similar state law or
         regulation.

                        Section 6.10 Brokers

                        Seller has not retained any broker in connection with the transactions
         contemplated hereunder. Buyer has no, and will have no. obligation to pay any brokers. finders.
         investment bankers, financial advisors or similar fees in connection v,.-ith this Agreement or the
         transactions contemplated hereby by reason of an y action taken by or on behalf of Seller.

                        Section 6.11   No Other Representations and \Varranties

                   EXCEPT FOR THE REPRESENTATIONS OR WARRANTIES
         EXPRESSLY SET FORTH IN THIS AGREEMENT, SELLER DISCLAIMS ALL
         REPRESENTATIONS AND WARRANTIES, WHETHER EXPRESS OR IMPLIED,
         ORAL OR WRITTEN, WITH REGARD TO THE PRODUCT, THE PURCHASED
         ASSETS AND THE BUSINESS, INCLUDING THE FUTURE PROFITABILITY OF THE
         PURCHASED ASSETS, THE PRODUCT OR THE BUSINESS, AND WARRANTIES OF
         MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE Al'-11) NON-
         INFRINGEMENT OF INTELLECTUAL PROPERTY RIGHTS.

                                                 Article VII.
                                   Representations and Warranties of Buver

                        Buyer represents and wammts to Seller as of the date of this Agreement, subject
         to such exceptions as are specifically disclosed in the disclosure schedule supplied by Buyer to
         Seller and dated as of the date of this Agreement, if any. as follows:

                        Section 7.01   Corporate Organization

                         Buyer is a limited liability company duly organized, validly existing and in good
         standing under the laws of Delaware and has all requisite pov,:er and authority to own its assets
         and carry on its business as currently conducted by it. Buyer is duly authorized to conduct its
         business and is in good standing in each jurisdiction where such qualification is required, except
         for any jurisdiction where failu re to so qualify could not reasonably be expected, individually or
         in the aggregate. to materially impair or delay Buyer·s ability to perfonn its obligations
         hereunder.

                        Section 7.02 Authority of Buyer

                        Buyer has all necessary power and authority to enter into this Agreement and to
         carry out the transactions contemplated hereby. The execution. delivery and performance by
         Buyer of this Agreement baYe been duly and validly authorized and no additional corporate or
         shareholder authorization or consent is required in connection ,1v·itb the execution, delivery and
         perfonnance by Buyer of this Agreement. This Agreement has been duly and val idly executed
         and delivered by Buyer and. when executed and delivered by Seller, will constitute a legal, valid
         and binding obligation of Buyer enforceable against it in accordance with its terms except (a) as


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         limited by applicable bankruptcy, insolvency, reorganization. moratorium and other Laws of
         general application affecting enforcement of creditors' rights generally, and (b) as limited by
         Laws relating to the availabi}jty of specific performance, injunctive relief or other equitable
         remedies.

                        Section 7.03 Consents and Approvals

                        No consents, waivers. approvals. Orders or authorizations of, or registrations,
         declarations or filings with, any Govemmental or Regulatory Authority are required by Buyer in
         connection with the execution and delivery of this Agreement by Buyer or the performance of its
         obligations hereunder.

                        Section 7.04 Non-Contravention

                        The execution and delivery by Buyer of this Agreement does not, and the
         perfom1ance by it of its obligations under this Agreement and the consummation of the
         transactions contemplated hereby will not:

                        (a)     conflict with or violate any provision of the organizational documents of
         Buyer;

                         (b)     assuming the receipt of all Buyer govemmentaJ consents, conflict with or
         result in a violation or breach of any term or provision of any Law applicable to Buyer; or

                         (c)    conflict ,vith or result in a breach or default (or an event that, with notice
         or lapse of time or both, would constitute a breach or default) under, or termination of, any
         Contract to which Buyer is a patty or by which Buyer or any of its assets is bound, other than
         such conflicts, breaches or defaults as would not reasonably be expected to or materially impair
         or delay Buyer·s ability to perform its obligations hereunder.

                        Section 7.05 Solvency

                        (a)     Buyer is Solvent.

                          (b)    No transfer of property is being made by Buyer and no obligation is being
         incmTed by Buyer pursuant to this Agreement with the intent to hinder, delay or defraud either
         present o r future creditors of Buyer.

                        Section 7.06 Brokers

                        Buyer has not retained any broker in connection with the transactions
         contemplated hereunder. Seller has no, and will have no. obligation to pay any brokers. finders,
         investment bankers, financial advisors or similar fees in connection with this Agreement or the
         transactions contemplated hereby by reason of any action taken by or on behalf of Buyer.




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                        Section 7.07 No Other Representa tions and Warranties

                  EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES SET
         FORTH IN THIS AGREEMENT, BUYER HEREBY DISCLAIMS ALL OTHER
         REPRESENTATIONS AND WARRANTIES WHETHER EXPRESS OR IMPLIED,
         ORAL OR WRITTEN.

                                                  Article VIII.
                                             Covenants of the Parties

                        Section 8.01   Reasonable Best Efforts

                        Each Party shall use its Reasonable Best Efforts to take, or cause to be taken, all
         action, or to do, or cause to be done, all things necessary, proper or advisable under applicable
         Laws to consummate and make effective the transactions contemplated by this Agreement and to
         cause the conditions to the obligations of the other Party to consummate the transactions
         contemplated hereby to be satisfied, including (a) obtaining all consents and approvals of all
         Persons and Governmental or Regulatory Authorities and removing any inJunctions or other
         impainnents or delays that are necessary. proper or advisable to the consummation of the
         transactions contemplated by this Agreement and (b) furnishing upon request to each other such
         infonnation as is required in connection with the foregoing.

                        Section 8.02 Cooperation and Transition

                        (a)     Each Party shall cooperate fully with the other in preparing and filing all
         notices, applications, submissions, reports and other instruments and documents that are
         necessary, proper or advisable under applicable Laws to consummate and make effective the
         transactions contemplated by this Agreement, including Seller·s cooperation in the efforts of
         Buyer to obtain any consents and approvals of any Governn1ental or Regulatory Authority
         required for Buyer to be able to own the Purchased Assets.

                         (b)     For a period of seventy (70) days following the Closing, Seller shall
         provide to Buyer, at Seller's expense, (i) such services in connection v.ith the transition of the
         marketing and sale of the Product from Seller to Buyer as Buyer may reasonably request,
         including with respect to regulatory affairs, phannacovigilance. customer service, and risk
         management programs and related processes, pro,·ided that such services can be provided by
         Seller ,vithout unreasonable burden (such as the engagement of additional employees or securing
         of services from independent contractors) to Seller and ,vithout unreasonable interference \,vith
         Seller's ongoing operations, and (ii) reasonable access to appropriate personnel in order to effect
         an orderly and rapid transition of material conunercial infonnation related to the conduct by
         Seller of the Business.

                        Section 8.03 Public Announcements

                         Each of Seller and Buyer agrees that, prior and subsequent to the Closing. it and
         its representatives shall keep the tem1s of this Agreement confidential and shall not disclose such
         infonnation to any other Person (except as necessary to carry out the express tenns of this
         Agreement or to the extent such infonnation becomes public information or generally available


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         to the public through no fault of such Party or its Affiliates) without the prior ,;,,rritten consent of
         the other Party (which shall not be unreasonably withheld), unless such Party has been advised
         by counsel that disclosure is required to be made under applicable Law or the requirements of a
         national securities exchange or another similar regulatory body (in which event such Pai1y shall,
         upon request of the non-disclosing Party, exercise its Reasonable Best Efforts to obtain a
         protective order or other reliable assurance that confidential treatment will be accorded to the
         inforn1ation so disclosed).

                        Section 8.04 Bulk Sales

                        Buyer and Seller waiYe compliance with all bulk sales Laws applicable to the
         transactions contemplated by th.is Agreement.

                        Section 8.05 Corporate Names

                         (a)   Buyer shall haYe the right, but not the obligation, to sell the Inventory
         using applicable NDC numbers of Seller or Seller Brands that are incorporated into the Inventory
         or otherwise included on the label or labeling for the Inventory at time of delivery to Buyer or its
         designee (''Corporate Names"), and Seller hereby grants Buyer a limited. non-exclusiYe, royalty-
         free license under Seller' s right, title and interest in the Corporate Names, effective from and
         after the Closing Date until the first rumiversary of the Closing Date, to market, promote and sell
         the Inventory. Buyer shall use its Reasonable Best Effo1ts to obtain its own NOC numbers for
         the Product promptly following the Closing. For clarity, Buyer shall not use any Corporate
         Names on any Product other than Inventory.

                         (b)      Buyer may use, copy, reproduce, modify, display, perfom1, execute.
         distribute, translate into any language or fonn, and prepai·e deriYative works (and take all of the
         above actions with respect to such derivative works) of any Marketing Materials included in the
         Purchased Assets (and Buyer shall be the ow11er of, and have all title to any copyrights in such
         derivative works created by or for Buyer); provided, that Buyer uses its own name (or the naine
         of its licensee or designee) on such materials and completely removes all Seller Corporate
         Names ai1d logos from, or completely covers all Corporate Names on, such materials; and
         provided furrher, that Buyer acknowledges and agrees that Seller shall have no Liability arising
         out of or in connection with Buyer's or its Affiliates' use of such Marketing Materials.

                        Section 8.06 Regulatory Matters

                        (a)     As soon as practicable fo llowing the Closing Date, but in any event no
         later than ten ( l 0) days after the Closing Date, Seller shall transfer the Regulatory
         Documentation to Buyer, at Seller's expense. In addition to closing deliveries in accordance
         with Section 5.02, each Party shall promptly after Closing submit to the FDA and any other
         GoYemmental or Regulatory Authorities any other documentation and applications required to
         effect or provide notice of such transfer required under applicable Laws, including 21 C.F.R. §
         314.72.

                         (b)    Subject to Section 8.07(a), and except as otherwise provided in Section
         8.02. from and after the Closing, Buyer, at its cost, shall be solely responsible and liable
         (JJro,·ided, however, that Seller shall remain responsible and liable for all Excluded Liabilities)


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         for (i) taking all actions. paying all fees and conducting all communkation with the appropriate
         Governmental or Regulatory Authority required by Law in respect of the Regulatory Approvals
         or the Regulatory Documentation, including preparing and filing all reports (including adverse
         drug experience reports) with the appropriate Governmental or Regulatory Authority. (ii) taking
         all actions and conducting all communication with third parties in respect of the Product
         (whether sold before or after Closing), including responding to (A) complaints in respect thereof,
         including complaints related to tampering or contamination, and (B) all 1nedicaJ infonnation
         requests, and (iii) investigating all complaints and adverse drug expe1iences in respect of the
         Product (whether sold before or after Closing).

                        Section 8.07 Product Returns

                         (a)     Buyer shall accept and process all returns of Product following the
         Closing and disburse refunds and credits in respect thereof to third parties (whether such Product
         was sold before or after Closing) in accordance with the return policy in place for the Product at
         the time of sale and applicable Laws. Seller shall reimburse Buyer for all reasonable,
         documented costs and expenses incurred by Buyer in connection with (i) Product sold prior to
         Closing (as detem1ined by lot numbers) that is returned any time after Closing due to defect.
         damage or shipping en-ors or (ii) Product sold prior to Closing (as determined by lot numbers)
         that is returned due to expiration during the period commencing on the Closing Date and ending
         twenty-four (24) months thereafter. For pw-poses of this Section 8.07, the calculation of Buyer's
         reasonable costs and expenses incu1Ted in connection with Products returned shall be equal to
         Buyer"s actual costs and expenses of Products returned (including refunds and credits). From
         and after the date of this Agreement, neither Buyer nor Seller shall initiate or encourage any
         acceleration of or delay in the return of the Product.

                        (b)     Promptly after the Closing, and except as may otherwise be provided in
         Section 8.02, Seller and Buyer shall provide written notice to all Persons to which Product was
         sold by Seller during the twelve (12) months prior to Closing stating that the Business has been
         purchased by Buyer and that Seller no longer accepts returns of Product, and directing such
         Persons to contact Buyer in connection with returns, purchase orders and all other inquiries
         regarding the Product.

                       Section 8.08    Further Assurances

                        (a)     On and after the Closing, Seller shall from time to time, at the request of
         Buyer, execute and deliver, or cause to be executed and delivered, such other documents or
         instruments of conveyance and transfer and take such other actions as Buyer may reasonably
         request. in order to cany out the provisions of this Agreement or more effectively consummate
         the transactions contemplated hereby and to vest in Buyer good and marketable title to the
         Purchased Assets (including assistance in the collection or reduction to possession of any of the
         Purchased Assets).

                       (b)    On and after the Closing, Buyer shall from time to time, at the request of
         Seller, take such actions as Seller may reasonably request, in order to more effecti\"ely
         consummate the transactions contemplated hereby. including Buyer·s assumption of the
         Assumed Liabilities.



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                        Section 8.09 Government Price Reporting Obligations

                         (a)    As soon as practicable following the Closing, Seller Vvill modify its
         Phannaceutical Pricing Agreement v.ith the Department of Veterans Affairs to remove the
         Product, and post-Closing Buyer w ill be responsible for all Veterans Health Care Act obligations
         related to the Product. The Parties shall cooperate fully to add the Product to Buyer's agreement
         ,1v·ith the Department of Veterans Affairs. Seller wi ll provide all infonnation needed by the
         Buyer to price its product for the remainder of calendar year 2008, as well as all infonnation
         needed to calculate and rep011 the quarterly and annual non-FAMP and the annual Federal
         Ceiling Price for the Product pursuant to the Veterans Health Care Act of I 992. Seller shall
         indemnify Buyer pursuant to Article 12 from and against any and all Damages incu1Ted by any or
         all of the Buyer Indemnified Parties to the extent arising or resulting from errors or omissions in
         such information.

                        (b)    Buyer agrees to provide to Seller, on a monthly and quarterly basis, all
         pricing submissions, fully calculated, that are required under applicable Law to be submitted by
         Seller to comply with its price repo1ting obligations with respect to the Product pursuant to
         Section 1927 of the Social Security Act, as amended by the Deficit Reduction Act of 2005 (Pub.
         L. No. 109-171 ). Buyer shall provide such submissions to Seller no later than twenty (20) days
         following the end of each month. Further, the parties agree to cooperate to facilitate compliance
         with such price reporting obligations with respect to the Product, including any price repo11ing
         obligations that may be enacted subsequent to the Closing Date under applicable Law. Seller
         agrees to hold confidential and not to disclose to any third pa11y (except as required by applicable
         Law) pricing data and submissions furnished by Buyer pursuant to this Section 8.09(b). Fu1ther,
         Seller agrees not to use such data or submissions for any purpose other than meeting its price
         rep011ing obligations under applicable Law and shall implement procedures to limit the
         personnel who may have access to such data to those employees, contractors and agents of Seller
         v,:ho have a need to know such infom1ation and solely to the extent reasonably necessary to
         facilitate such reporting, which employees, contractors or agents shall in no event include any
         employee, contractor or agent with responsibility for the pricing, marketing or sale of A vinza.
         Nothing herein shall be construed to relieYe Buyer of any duty that it may have to report pricing
         data with respect to the Product pursuant to applicable Law. Buyer shall certify to Seller that, to
         the best of Buyer's knowledge, the results included in each such submission fall with the
         applicable guidelines provided by the Centers for Medicare and Medicaid Services (CMS), to the
         extent such a certification is required to accompany their submission to CMS by the Seller, and
         Buyer shall indemnify Seller pursuant to Article 12 from and against any and all Damages
         incurred by any or all of the Seller Jndemnified Parties to the extent arising or resulting from
         errors or omissions in such information.

                        Section 8.10 Kadian Patent License

                        (a)     Effective upon the Closing:

                               (i)     Seller hereby grants to Buyer and its Affi liates an exclusive.
         irrevocable, perpetual, sublicensable, fully paid up, royalty-free license under the Licensed
         Intellectual Prope11y solely to use, make, distribute, offer for sale, promote, advertise, sell,




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         import, export, or bave used, made, distributed. offered fo r sale. promoted, advertised, sold,
         impo11ed, or exported the Licensed Product in the Territory; and

                                (ii)    Seller hereby grants to Buyer and its Affiliates an exclusive,
         irrevocable, perpetual, sublicensable. fully paid up, royalty-free license under the Kadian Patents
         solely to use, make, distribute, offer for sale, promote, advertise, sell, import, expo11, or have
         used. made, distributed, offered for sale, promoted, advertised, sold, imported, or exported the
         Product in the Territory.

                        (b)     In furt herance of the foregoing:

                                 (i)    Seller shall not, and shall cause its Affi liates not to, grant to any
         third party a license under the Licensed Patents to make. have made, impo11, use, sell , or offer for
         sale any Licensed Product or Generic Product in the Territory during the License Tem1.

                                 (ii)    During the License Term, each Party shall promptly notify the
         other Party in writing of (A) any declaratory judgment action or other proceeding asserting the
         non-infringement, invalidity or unenforceability of any Licensed Patent in the Te1Titory in
         connection with a Licensed Product or Generic Product by a third party, or (B) any ··Paragraph
         IV Certification·· under the Hatch-Waxman Act, including any certification under 2 1 U.S.C. §
         355(b)(2)(A)(iv) or § 355(j)(2)(A)(vii)(IV) (or any amendment or successor statute thereto) of
         which it becomes aware asse11ing that any Licensed Patent is invalid, unenforceable or will not
         be infringed by the manufacture use or sale of any Generic Product in the Tenitory by a third
         party. Seller shall have the sole right to and, during the License Tenn shall be obligated to. bring
         and prosecute in good fait h, on behalf of Seller and Buyer. for purposes of protecting Buyer·s
         exclusive rights under the exclusive license, an infringement action against such third pa11Y
         and/or defend such declaratory judgment action or other proceeding brought by the third party
         through counsel of Seller's choosing, and Buyer. at its expense, agrees to pro\'ide all reasonable
         cooperation in connection with such an action as Seller may request. With regard to such
         foregoing infringement action that Seller is obligated to bring, Seller shall, in each instance,
         bring such action within forty-five (45) days of receiving a notification of a " Paragraph IV
         Ce11ification·= under 21 U.S.C. § 355(j)(2)(A)(vii)(IV). A ll recoveries from such an action that
         Seller is obligated to bring that are attributable to an infringement related to Licensed Products or
         Generic Products shall be first allocated to reimburse the Seller for its costs and expenses in
         bringing or defending such action, and the remainder shall belong to Buyer and. to the extent
         attributable to lost sales of Products, constitute Net Sales. All other recoveries from any such
         action that Seller is obligated to bring shall be retained by Seller. In no case during the License
         Tenn may Seller enter into any settlement or consent judgment or other voluntary disposition of
         such an action that Seller is obligated to bring w ithout Buyer's prior written consent, which shal I
         not be unreasonably withheld or delayed, that: ( 1) limits Buyer's rights under the Licensed
         Patents, (2) makes any admission of the invalidity, unenforceability or non-infringement of the
         Licensed Patents with respect to any Licensed Product or Generic Product, (3) subjects Buyer to
         an injunction or other equitable relief, (4) purports to grant a license under the Licensed Patents
         to any third party to make. use or sell any Licensed Product or Generic Product.

                       (c)      Effective upon the Closing, Seller hereby grants to Buyer and its Affiliates
         a non-exclusive, i1Tevocable, perpetual, fully paid-up, royalty-free right and license to use and



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         reference the Seller Data to the extent necessary to maintain the Regulatory Approval, which
         right and license shall be transferable to any subsequent owner of the Regulatory Approval.

                         (d)      Seller hereby covenants to Buyer that from and after the Closing Seller
         and its Affiliates shall not join, file, prosecute or maintain any suit, in law or equity, against
         Buyer or its Affiliates claiming that the research, development, manufacture, use, import, export,
         distribution or sale of the Product by Buyer or its Affiliates infringes the Kadian Patents.

                         (e)      Seller hereby covenants to Buyer that from and after the Closing Seller
         and its Affiliates shall not join. file. prosecute or maintain any suit. in law or equity, against
         Buyer or its Affiliates claiming that the research, development, manufacture, use, import, export,
         distribution or sale of the Licensed Product by Buyer or its Affiliates infringes the Product
         Patents.

                         (t)     As a condition to the assignment, transfer or license of any of the Product
         Patents to a third party by Seller or its Affiliates, such third party shall agree to provide to Buyer
         a covenant not to sue at least as protective as those set forth in the foregoing clauses (d) and (e).

                         (g)    With respect to any Product Patents licensed to Seller or its Affiliates as to
         which Seller or its Affiliates do not control the right of prosecution of any legal action, from and
         after the Closing Seller and its Affiliates shall not actively induce, assist or patticipate in any
         legal action or proceeding relating to the Licensed Product against Buyer unless required by Law
         or Contract (which Contract shall not be solicited or entered into for the purpose of
         circumventing any rights granted to Buyer hereunder).

                         (h)     Upon the reasonable request of Buyer and with reasonable notice to Seller.
         from and after the Closing, Seller shall provide in a timely manner to Buyer, at no greater than
         Seller's Direct Cost, assistance of knowledgeable employees of Seller and its Aftiliates in
         defending against. responding to or otherwise participating in any litigation related to the Product
         Intellectual Property.

                         (i)     Effective upon the Closing, Buyer hereby grants to Seller and its Affiliates
         a non-exclusive, irrevocable, perpetual, fully paid-up, royalty-free right and license to reference
         the Regulatory Approval and other Regulatory Documentation in the Embeda NOA solely to the
         extent that the Regulatory Approval and other Regulatory Documentation are referenced in the
         Embeda NOA as of the Closing Date (the "Right of Reference..). As a condition to the
         assignment. transfer or license of any of the Regulatory Approval or other Regulatory
         Documentation to a third party by Buyer or its Affiliates, such third party shall agree to grant to
         Seller and its Affiliates the foregoing right and license. Any and all use of the Right of
         Reference is without any representation or warranty of any kind from Buyer, and Seller waives
         any and all warranties of any kind including any express or implied warranty. whether oral or
         written, including any implied warranty of the merchantability or fitness for a particular purpose.

                           G)     Except as expressly set forth herein, no right or license is granted hereby
         v,1ith respect to any Trademark, copyright, Patent or other intellectual property of Seller or its
         Affiliates.




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                        (k)      Except as expressly set forth herein, no right or license is granted hereby
         vvith respect to any Trademark, copyright, Patent or other intellectual property of Buyer or its
         Affiliates.

                        Section 8.11    DEA Notification

                        Buyer and Seller shall, as required by Law, notify the DEA that. as of the Closing
         Date, Buyer is or will be marketing and selling the Product in the United States either directly or
         indirectly through one or more authorized distributors. As required by Law, each of Buyer and
         each such authorized distributor, as applicable, shall obtain a valid registration(s) with the DEA
         pem1itting Buyer or such authorized distributor. as applicable, to receive, hold, store, ship and
         sell the Product in the United States.

                        Section 8.12 Representations True

                         King shall not knowingly or intentionally take any action or knowingly or
         intentionally omit to take any action to the extent such action or omission would result in any of
         its representations or warranties being inaccurate or incorrect in any material respect as if given
         on and as of the Closing Date.

                        Section 8.13 Confidentiality; Non-Public Purchased Assets

                         (a)     Each Party shall use its Reasonable Best Efforts to maintain and assure the
         confidentiality of the confidential infonnation of the other Party hereto. In the event that a Party
         receives a request to disclose all or any part of the other Party's confidential infonnation under
         the terms of a valid and effective subpoena or order issued by a court of competent jurisdiction
         or by any other Governmental or Regulatory Authority. such Party agrees to: (i) promptly notify
         the other Party of the existence, terms and circumstances surrounding such a request, so that the
         other Party may seek an appropriate protective order and/or waive compliance \\.·ith the
         provisions of this Agreement: (ii) provide tbe other Party full and complete cooperation to seek
         an appropriate order or remedy; (iii) cooperate with the other Party in obtaining reliable
         assurances that confidential treatment will be accorded to the disclosed confidential inforn1ation
         if disclosure of such confidential information is required; and (iv) limit disclosure of the
         confidential info1mation to only that part necessary to comply with the request.

                         (b)    Notwithstanding that Seller disclosed the Purchased Assets to Buyer, all
         non-public infonnation within the Purchased Assets shall be considered, from and after the
         Closing Date. the confidential infom1ation of Buyer. Unless and until this Agreement tenninates
         or expires w ithout Closing, (i) Seller will keep all non-public infonnation in its possession within
         the Purchased Assets or related to Buyer and disclosed to Seller pursuant to this Agreement or in
         connection with the negotiation hereof confidential and will not disclose such non-public
         information within the Purchased Assets or related to Buyer and disclosed to Seller pursuant to
         this Agreement or in connection with the negotiation hereof to third parties who are not under
         confidentiality obligations adequate to maintain the confidentiality thereof, except for such
         disclosures as may be required to comply with applicable Laws or the rules of a national
         securities exchange. and (ii) before pennitting any Person to receive non-public information or
         undertake any activity in connection with Purchased Assets, Seller shall obtain a signed



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         agreement from each Person undertaking to maintain the confidentiality of all non-public
         information within the Purchased Assets.

                        Section 8.14 Filings

                         (a)     The Parties specifically agree to promptly prepare and file any required
         filings under the Medicare Prescription Drug. Improvement, and Modernization Act of 2003,
         with respect to the transactions contemplated hereby to tJ1e extent required by applicable Law.

                        (b)     Each of the Pa11ies shall furnish to the other such infonnation and
         assistance as the other Party may reasonably request in connection with the preparation of any
         filings or submissions contemplated in Section 8.l 4(a) and provide the other with copies of all
         correspondence, fil ings or communications (or memoranda setting fmth the substance thereof)
         between such Party or any of its representatives, on the one hand, and the applicable
         Governmental or Regulatory Authority, on the other, with respect to this Agreement and the
         transactions contemplated hereby.

                        Section 8.15 Recalls.

                        (a)     From and after the Closing Date, Buyer, at its cost (subject to clause
         (c) below), shall be solely responsible and liable for conducting all voluntary and involuntary
         recalls or market withdrawals of w1its of the Product (whether sold before or after Closing),
         including (i) recalls required by any Governmental or Regulatory Authority and (ii) voluntary
         recalls and market withdrawals of Product sold prior to Closing or Product included in Im·entory
         that was defective when delivered to Buyer hereunder that are deemed necessary by Seller in its
         reasonable discretion. Seller promptly shall notify Buyer in the event that a recall of Product
         sold prior to Closing or Product included in lnvento1y that was defective when delivered to
         Buyer herew1der is necessary and Seller shall, and shall cause its relevant Affiliates to, cooperate
         with Buyer's reasonable requests and use Reasonable Best Efforts to assist Buyer in
         implementing and effecting such recall or market withdrawal.

                         (b)     Notwithstanding the foregoing, Seller (or an Affiliate designated by
         Seller) shall have the right at its expense to conduct any recall or market withdrawal of Product
         sold prior to Closing or Product included in Inventory if Seller dete1mines that significant health
         and safety concerns require that Seller or its Affiliates conduct such recall or market withdrawal,
         provided that prior to initiating any such recall or market witJ1drawal. Seller shall consult in good
         faith with Buyer to dete1111ine how such recall or market w ithdrawal shall be implemented.
         Buyer shall use Reasonable Best Efforts to cooperate with Seller's and its Affiliates' reasonable
         requests and assist Seller and its Affiliates in implementing and effecting such recall or market
         withdrawal

                        ( c)    Seller promptly shall reimburse Buyer for all reasonable, documented
         costs incurred by Buyer in com1ection with any recall or market withdrawal (i) of Product sold
         p1ior to Closing or Product included in Im·entory that was defective when delivered to Buyer
         hereunder or (ii) otherwise required by Seller pursuant to Sections 8.lS(a) or (b) above.




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                        Section 8.16 Rebates and Coupons

                        (a)     As between Buyer and Seller, Seller shall be responsible for and pay all
         Rebates relating to utilization of the Product prior to and during the Rebate Period: prov;ded that
         if the Rebate Period ends on a day other than the last day of a Calendar Quarter, the amount of
         Rebates payable by Seller pursuant to this Section 8.16 with respect to utilization of the Product
         during the Calendar Quarter in which the Rebate Period ends shall be equal to (a) the aggregate
         amount of all Rebates relating to utilization of the Product during such Calendar Quarter,
         multiplied by (b) a fraction, the numerator of which is the number of days from and including the
         first day of such Calendar Quarter through and including the last day of the Rebate Period and
         the denominator of which is the total number of days in such Calendar Quarter. As between
         Buyer and Seller, Buyer shall be responsible for and pay all Rebates relating to utilization of the
         Product after the Rebate Period; provided that if the Rebate Period ends on a day other than the
         last day of a Calendar Qua11er, the amount of Rebates payable by Buyer pursuant to this Section
         8.16 with respect to utilization of the Product during the Calendar Qua11er in which the Rebate
         Period ends shall be equal to (x) the aggregate amount of all Rebates relating to utilization of the
         Product during such Calendar Qua11er, multiplied by (y) a fraction, the numerator of which is the
         number of days from and including the day immediately following the last day of the Rebate
         Period through and includ ing the last day of such Calendar Quarter and the denominator of
         which is the total number of days in such Calendar Quarter. Buyer shall not enter into any
         Contract requiring payment of a Rebate during the Rebate Period except in the ordinary course
         of business and consistent with Seller's past practices regarding the amount of Rebates.
         Notwithstanding anything herein to the contrary, in no event shall Seller be liable for, and Buyer
         shall be solely responsible for and shall pay all rebates relating to utilization of any Product
         bearing Buyer's NOC number.

                        (b)    As between Buyer and Seller, Seller shall be responsible for and pay all
         obligations under and pursuant to Coupons relating to utilization of the Product prior to and
         during the Rebate Period. As between Buyer and Seller, Buyer shall be responsible for and pay
         all obligations under and pursuant to Coupons relating to utilization of the Product after the
         Rebate Period: provided that Buyer's aggregate liability pursuant to Coupons shal l not exceed
         $60,000.

                        Section 8.17 Chargeback and Rebate Period

                        (a)     Promptly after the Closing Date, Buyer and Seller jointly shall select a
         third party consultant (the "Consultant") which shall detern1ine the quantity of Product ov..·ned by
         all wholesalers in the Territory as of the Closing Date (tbe --Ag2reeate Wholesaler Amount") and
         the average amount of Product sold by such wholesalers per day in the thirteen (13) weeks
         immediately preceding the Closing Date (the "Dailv Sales Amount"). The ·'Chargeback Period"
         means the period commencing on the Closing Date and ending the number of days thereafter
         equal to the Aggregate Wholesaler Amount divided by the Daily Sales Amount.

                      (b)   The Consultant also shall detennine the quantity of Product owned by all
         wholesalers and retailers in the Territory as of the Closing Date (the "Aggreeate
         Wholesale/Retail Amount") and the average amount of Product utilized per day in the thirteen
         (13) weeks immediately preceding the Closing Date (the " Dailv Utilization Amount"). The


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         --Rebate Period .. means the period commencing on the Closing Date and ending the number of
         days thereafter equal to the Aggregate Wholesale/Retail Amount divided by the Daily Utilization
         Amount.

                        (c)    The Parties shall bear equally the fees and expenses of the Consultant.

                        Section 8.18 Chargebacks

                         As betv.·een Buyer and Seller, Seller shall be responsible fo r and pay all
         Chargebacks that are submitted by wholesalers and other distributors to either Seller and its
         Affiliates or Buyer prior to and during the Chargeback Period. As between Buyer and Seller.
         Buyer shall be responsible for and pay all Chargebacks submitted by wholesalers and other
         distributors to either Seller and its Affiliates or Buyer after the Chargeback Period. Buyer shall
         not enter into any Contract requiring payment of a Chargeback during the Chargeback Period
         except in the ordinary course of business and consistent with Seller's past practices regarding the
         amount of Chargebacks. Notwithstanding anything herein to the contrary. in no event shall
         Seller be liable for, and Buyer shall be solely responsible for and shall pay, any and all
         Chargebacks w·ith respect to Product bearing Buyer's NDC number.

                        Section 8.19 GPO Administration Fees and IFF Payments

                        As between Buyer and Seller, Seller shall be responsible for and pay all GPO
         Administration Fees and IFF payments relating to sales of the Product during the Chargeback
         Period, provided that if the Chargeback Period ends on a day other than the last day of a
         Calendar Quarter. the amount of GPO Administration Fees and IFF payments payable by Seller
         pursuant to this Section 8.19 with respect to sales of the Product during the Calendar Quarter in
         which the Chargeback Period ends shall be equal to (a) the aggregate amount of all GPO
         Administration Fees and IFF payments relating to sales of the Product during such Calendar
         Qua11er, multiplied by (b) a fraction, the numerator of which is the number of days from and
         including the first day of such Calendar Quaiter through and including the last day of the
         Chargeback Period and the denominator of which is the total number of days in such Calendar
         Quruter. As between Buyer and Seller, Buyer shall be responsible for and pay all GPO
         Administration Fees and TFF payments relating to sales of the Product after the Chargeback
         Period; provided that if the Chargeback Period ends on a day other than the last day of a
         Calendar Quarter, the amount of GPO Administration Fees and IFF payments payable by Buyer
         pursuant to this Section 8.19 with respect to sales of the Product during the Calendar Quarter in
         which the Chargeback Period ends shall be equal to (x) the aggregate amount of all GPO
         Administration Fees and IFF pay1nents relating to sales of the Product during such Calendar
         Quarter, multiplied by (y) a fraction, the numerator of which is the number of days from and
         including the day immediately following the last day of the Chargeback Period through and
         including the last day of such Calendar Quarter and the denominator of which is the total number
         of days in such Calendar Quarter. Buyer shall not enter into any Contract requiring payment of a
         GPO Administration Fee during the Chargeback Period except in the ordinary course of business
         and consistent with Seller's past practices regarding the an1ount of GPO Administration Fees.
         Notwithstanding anything herein to the contrary, in no event shall Seller be liable for, and Buyer
         shall be solely responsible for and shall pay any and all GPO Administration Fees and IFF
         payments relating sales of any Product bearing Buyer's NDC number.


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                        Section 8.20 Manufac turing Agreements

                        (a)     Effective as of the Closing, the Toll Manufacturing Agreement, dated as
         of December 19, 2005, by and between Alpharma Branded Products Division Inc. and Buyer
         (formerly Purepac Pham1aceutical Co.), as amended (the "Toll Manufacturing Agreement"") shall
         tenninate; provided that to the extent any surviving provisions therein are inconsistent with the
         tenns of this Agreement. the tenns of this Agreement shall govern. Additionally. following the
         Closing the Parties agree to negotiate in good faith to amend any surviving provisions of the Toll
         Manufacturing Agreement or other provisions of the Toll Manufacturing Agreement in order to
         address issues impacted by this Agreement.

                        (b)    Effective as of the Closing, the Development and Manufacturing Services
         Agreement, dated as of February l. 2008, by and between Actavis Elizabeth LLC and Alpham1a
         Pham1aceuticals LLC, as amended shall continue in force; provided that follow"ing the Closing
         the Parties agree to negotiate in good faith to amend such Development and Manufacturing
         Services Agreement to address issues in1pacted by this Agreement.

                        Section 8.21 Sale of Product

                          Buyer, through the second Calendar Quarter of 20 l 0, shall use commercially
         reasonable efforts to sell the Product and maximize Gross Profits of the Product; provided,
         however that Buyer shall not have any obligation under this Section 8.2 1 to perfonn Details or to
         sell the Product if in the reasonable view of Buyer such sales expose Buyer to material third
         party liability.

                        Section 8.22 Delivery of Inventory

                        On the Closing Date, Seller shall tender Inventory at the place where it is located
         as requested by Buyer to either Buyer or a third party designated by Buyer.

                        Section 8.23 Assumed Contracts

                        Promptly following the Execution Date, Seller s hall provide to Buyer a copy of
         any Contract to which Seller is a party that relates to the Product or the Business. Buyer shall
         designate from among such Contracts (a) those Contracts (if relating exclusiYely to the Products
         or the Business) and (b) the portion of those Contracts (if relating to the Products or the Business
         but not exclusively thereto), to be added, at Buyer's request. to Section 1.0 I (k) of the Seller's
         Disclosure Schedule. Seller shall cooperate in good faith with Buyer to effect the transfer and
         assignment to Buyer of such Contract. or portion thereof, subject to any required third party
         consent. Any Contract or po1tion of a Contract that has been designated by Buyer pursuant to
         this Section shall be deemed added to Section 1.01 (k) of the Seller's Disclosure Schedule as of
         the date of such designation and shall be subject to Section 2.01 (d).

                        Section 8.24 Regulatory Actions

                         Seller hereby covenants to Buyer that from and after the Closing Seller and its
         Affiliates shall not file any Citizen's Petition with the FDA against Buyer or its Affiliates based



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         on any non-public iufo1rnation contained in the Regulatory Approval or other Regulatory
         Documentation.


                                                   Article IX.
                                     Conditions to the Obligations of Seller

                        The obligation of Seller to effect the transactions contemplated hereby is subject
         to the satisfaction (or waiver by Seller), at or before the Closing, of each of the fo llowing
         conditions:

                         Section 9.01 Alpharma Acquisition

                      The acquisition of Alphanna by King shall have been consummated pursuant to
         the Merger Agreement.

                         Section 9.02 No Legal Prohibition

                         No provision of applicable Law and no Order shall prohibit the consummation of
         the Closing.

                                                   Article X.
                                     Conditions to the Obligations of Buver

                          The obligation of Buyer to effect the transactions contemplated hereby is subject
         to the satisfaction (or waiver by Buyer), at or before the Closing, of the following conditions:

                         Section 10.01 No Legal Prohibition

                         No provision of applicable Law and no Order shall prohibit the consununation of
         the C losing.

                         Section 10.02 Alpharma Acquisition

                      The acquisition of Alpham1a by King shall have been consummated pursuant to
         the Merger Agreement.

                                                   Article XJ.
                                       Additional Post-Closing Covenants

                         Section l 1.01 Access to Information

                         (a)    Upon the request of Seller, from and after the Closing, to the extent
         permitted by applicable Law. Buyer shall pennit Seller and its representatives to have access,
         during regular business hours and upon reasonable advance notice, to inspect and copy the
         Books and Records and other documents in Buyer's possession to the extent pertaining to the
         operation of the Business prior to the Closing Date for Tax purposes and in connection with any
         action, suit, proceeding. arbitration, Order, inquiry. hearing, assessment with respect to fines or



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         penalties or litigation commenced. brought, conducted or heard by or before, any Governmental
         or Regulatory Authority.

                        (b)     To the extent relevant to the Product, Purchased Assets or the Business
         prior to the Closing Date, Seller shall provide Buyer with such assistance as may be reasonably
         be required in connection with the preparation of any Tax Return and the conduct of any audit or
         other examination by any taxing authority or in connection with judicial or administrative
         proceedings relating to any liability for Taxes, and shall retain and provide Buyer with all
         records or other information that may be related to the preparation of any Tax Retums, or the
         conduct of any audit or examination or other Tax proceeding. Seller shall retain all relevant
         documents. including prior year's Tax Returns, supporting work schedules and other records or
         information that may be relevant to such Tax Returns and shall not destroy or otherwise dispose
         of any such records \\lithout the prior written consent of Buyer.

                         (c)     In the event that Seller transfers to Buyer copies of any Books and
         Records in accordance with the last sentence of Section l.Ol (n), Seller shall provide Buyer
         access to the original documents under circumstances where copies of such documents are
         insufficient for regulatory or evidentiary purposes.

                                                    A rticle XII.
                                                  Indemnification

                        Section 12.01 Survival of Representations and Warranties

                        The representations and warranties of Seller or Buyer contained in this Agreement
         shall tenninate twenty four (24) months following the Closing.

                        Section 12.02 Indemnification

                         (a)    Bv Seller. Subject to Section 12.03. from and after the Closing, Seller
         shall indenrnify, reimburse. defend and hold harmless Buyer, its Affiliates, and their respective
         officers, directors, employees, agents, successors and assigns (the "Buver Indemnified Pa11ies·')
         from and against any and all costs, losses, Liabilities, damages, lawsuits. deficiencies. claims.
         fines. demands, penalties, interest and expenses (including reasonable fees and disbursements of
         attorneys) (collectively, the "Damae.es'"), incuJTed in com,ection with, arising out of, or resulting
         from (i) any breach of any covenant or agreement of Seller herein, (ii) the inaccuracy or breach
         of any representation or warranty made by Seller in this Agreement, (iii) the failw-e of Seller to
         assume, pay, perfom, and discharge any Excluded Liabilities, (iv) the ownership and operation
         of the Purchased Assets or the conduct of the Business prior to the Closing, (v) the use by Seller
         or its Affiliates of the Marketing Materials prior to the Closing. (vi) Third Pa11y Claims in
         connection with, arising out ot: or resulting from the use of the Regulatory Approval and other
         Regulatory Documentation in the Embeda NDA and Books and Records, including any Damages
         associated with the promotion, marketing, distribution, sale or use of any products associated
         with the use of the Regulatory Approval and other Regulatory Documentation in the Embeda
         NDA, and Books and Records pursuant to Section 8. 1O(i) and (vii) the enforcement by the Buyer
         Indemnified Parties of their rights under this Section 12.02(a).




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                        (b)    Bv Buver. Subject to Section 12.03, from and after the Closing, Buyer
         shall indemnify, defend and hold harn1less Seller, its Affiliates and their respective officers,
         directors, employees, agents, successors and assigns (the "Seller Indemnified Parties") from and
         against any and all Damages incurred in connection with, arising out of, or resulting from (i) any
         breach of any coYenant or agreement of Buyer herein, (ii) the inaccuracy or breach of any
         representation or wananty made by Buyer in this Agreement, (iii) the failure of Buyer to assume,
         pay, perfom1 and discharge any Assumed Liabilities, (iv) the ownership and operation of the
         Purchased Assets or the conduct of the Business after Closing. (v) the use by Buyer or its
         Affiliates of the Marketing Materials after Closing, and (vi) the enforcement by the Seller
         Indemnified Parties of their rights under this Section 12.02(b).

                         (c)    Procedures. The Person entitled to indemnification under this Agreement
         (the --Indemnified Partv''), shall give the indemnifying Party (the --Indemnifving Partv'') prompt
         written notice (an ·'Indemnification Claim Notice..) of any Damages or discovery of fact upon
         which such fndemnified Party intends to base a request for indemnification under Section
         l 2.02(a) or Section I 2.02(b), pro,·ided, however. that any failure to give such notice shall not
         waive any rights of an Indemnified Party except to the extent that the rights of the Indemnjfying
         Party are actually prejudiced or to the extent that any applicable period contemplated by Section
         12.0 I has expired without notice being given. Each Indemnification Claim Notice must contain
         a description of the claim and the nature and amount of such Damages (to the extent that the
         nature and amount of such Damages are knov,:n at such time). The Indemnified Party shall
         furnish promptly to the Indem11ifying Party copies of all papers and official documents received
         in respect of any Damages.

                        (d)    Third Partv Claims. The obligations of an Indemnifying Party under this
         Section 12.02 with respect to Damages arising from claims, lawsuits, demands or other
         proceedings by any third party (each. a "Third Party Claim"') that are subject to indemnification
         as provided for in Section l 2.02(a) or Section 12.02(b) shall be governed by and be contingent
         upon the following additional te1ms and conditions:

                                (i)    At its option, the Indenmifying Party may assume the defense of
         any Thlrd Party Claim by giving ,vritten notice to the Indemnified Party within fifteen ( 15) days
         after the Indemnifying Party's receipt of an Indemnification Claim Notice. The assumption of
         the defense of a Third Party Claim by the Indemnifying Party shall not be construed as an
         acknowledgment that the Indemnifying Party is liable to indemnify any Indemnified Patty in
         respect of the Third Party Claim, nor shall it constitute a waiver by the Indemnifying Party of
         any defenses it may asse11 against any Indemnified Party's claim for indemnification. Upon
         assuming the defense of a Third Party Claim, the Indemnifying Party may appoint as lead
         counsel in the defense of the Third Party Claim any legal counsel selected by the lndemnjfying
         Party, subject to the consent of the Indemnified Party, v,:hich consent shall not be unreasonably
         withheld or delayed. In the event the Indemnifying Party assumes the defense of a Third Party
         Claim, the Indemnified Party shall immediately deliver to the lndemnjfying Pa11y all original
         notices and documents (including court papers) received by any Indemnified Party in connection
         v,ith the Third Party Claim. Should the Indemnifying Party assume the defense of a Third Party
         Claim, the Indemnifying Party shall not be liable to the Indemnified Party for any legal expenses
         subsequently incurred by such Indemnified Party in connection v,1ith the analysis, defense or
         settlement of the Third Party Claim. In the event that it is ultimately detem1ined that the


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         Indemnifying Party is not obligated to indemnify. defend or hold hannless an Indenmified Party
         from and against the Third Party Claim, the Indemnified Party shall reimburse the Indemnifying
         Party for any and all costs and expenses (including reasonable attorneys· fees and costs of suit)
         and any Damages incurred by the Indemnifying Party in its defense of the Third Party Claim
         with respect to such Indemnified Party.

                                 (ii)    Without limiting Section 12.02(d)(i), any Indemnified Party shall
         be entitled to participate in, but not control, the defense of such Third Party Claim and to employ
         counsel of its choice for such purpose; provided. ho,rever, that such employment shall be at the
         Indemnified Pa11y's own expense unless (A) the employment thereof has been specifically
         authorized by the Indemnifying Party in writing, (B) the Indemnifying Party has failed to assume
         the defense and employ counsel in accordance with Section 12.02(d)(i) (in which case the
         Indemnified Pa11y shall control the defense), or (C) the interests of the Indemnified Party and the
         Indemnifying Party with respect to such Third Party Claim are sufficiently adverse to prohibit
         the representation by the same counsel of both pa11ies under applicable Law, ethical rules or
         equitable principles.

                                (iii)   With respect to any Damages relating solely to the payment of
         money damages in connection with a Third Party Claim and that will not result in the
         Indemnified Party' s becoming subject to injunctive or other relief or otherwise adversely affect
         the business of the Indemnified Party in any manner, and as to which the Indemnifying Party
         shall have acknowledged in writing the obligation to indemnify the fndemnified Party hereunder,
         the Indemnifying Pru1y shall have the sole right to consent to the entry of any judgment, enter
         into any settlement or othern·ise dispose of such Damages, on such terms as the Indemnifying
         Party. in its sole discretion, shall deem appropriate. With respect to all other Damages in
         connection with Third Party Claims, where the Indemnifying Party has assumed the defense of
         the Third Pa11y Claim in accordance v.-itb Section I 2.02(d)(i), the Indemnifying Party shall have
         authority to consent to the entry of any judgment, enter into any settlement or otherwise dispose
         of such Damages; provided that it obtains the prior 'Nritten consent of the Indemnified Party
         (which consent shall not be unreasonably withheld or delayed). The Indemnifying Party shall
         not be liable for any settlement or other disposition of Damages by an Indemnified Party in
         connection with a Third Party Claim that is reached without the prior written consent of the
         Indenmifying Party (which consent shall not be unreasonably withheld or delayed). No
         Indemnified Party shall admit any liability with respect to, or settle. compromise or discharge,
         any Third Party Claim \\~thout the prior \vritten consent of the Indemnifying Party (v,'hich
         consent shall not be unreasonably withheld or delayed).

                               (iv)   If the Indemnifying Party chooses to defend or prosecute ru1y Third
         Party Claim, the Indemnified Pa11y shall cooperate in the defense or prosecution thereof and
         promptly shall furnish such records, infonnation and testimony, provide such wiu1esses and
         attend such conferences, discovery proceedings, hearings, trials and appeals as may be
         reasonably requested in connection therewith. Such cooperation shall include access during
         nom1al business hours afforded to the lndemJ1ifying Party to, and reasonable retention by the
         Indemnified Party of, records and information that are reasonably relevant to such Third Party
         Claim, and making relevant employees and agents available on a mutually convenient basis to
         provide additional information ru1d explanation of any material provided hereunder, and the



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         Lndemnifying Pa11y shall reimburse the Indemnified Party for all its reasonable out-of-pocket
         expenses in connection therewith.

                        (e)     Expenses. Except as proYided above, the reasonable and verifiable costs
         and expenses, including fees and disbursements of counsel. incurred by the Indemnified Party in
         connection with any claim shall be reimbursed on a quarterly basis by the Indemnifying Party.
         without prejudice to the Indemnifying Party's right to contest the Indemnified Party's right to
         indemnification and subject to refund in the event the lndemnifying Party is ultimately held not
         to be obligated to indemnify the Indemnified Party

                        Section 12.03 Limitations

                       (a)      In no event shall the aggregate liabil ity of Seller for Damages pursuant to
         Section 12.02(a)(i) and l 2.02(a)(ii) exceed the Purchase Price.

                    (b)  EXCEPT FOR AN D O NLY TO THE EXTENT OF ANY AMOUNT S
         PAJD UNDER AN INDEMNIFIABLE THIRD PARTY CLAIM UNDER SECTION 12.02,
         OR IN TH E CASE OF A PARTY'S WILLFU L MISCO NDUCT, IN NO EVENT SHALL
         EITHER PARTY BE LIABLE FOR SPECIAL, EXEMPLARY, INDIRECT,
         INCIDENTAL OR CONSEQ UENTIAL DAMAGES, INCLUDING BUSINESS
         INTERRUPTION OR LOST PROFITS, OR PUNITIVE DAMAGES.

                        Section 12.04 Remedies Exclusive

                        From and after the Closing, the remedies set fort11 in this Article XII shall be
         exclusive and in lieu of any other remedies that may be available to the Indemnified Pa11ies
         under any theory of liability and pursuant to any statutory or common law with respect to any
         Damages of any kind or nature directly or indirectly resulting from or arising out of any breach
         of this Agreement (including alleged breaches or inaccuracies of any representation, wananty or
         covenant or for any alleged misrepresentation) or the transactions contemplated hereby.



                                                 Article XIII.
                                         Termination and Abandonment

                        Section 13.01 Methods of Termination

                      Except as provided in Section 13.02 below, the transactions contemplated herein
         may be terminated and abandoned at any time prior to the Closing:

                        (a)    by mutual v.Titten consent executed and delivered by Seller and Buyer; or

                        (b)    by either Seller or Buyer if (i) the Closing shall not have occutTed by
         December 31. 2008; provided that the tenninating Pa11y is not then in material breach of its
         representations, warranties, or obligations hereunder; (ii) there shall be a final nonappealable
         Order of a federal or state court in effect preventing consummation of the transactions
         contemplated hereby; or (iii) there shall be any statute. rule, regulation or order enacted.


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         promulgated or issued or deemed applicable to the transactions contemplated hereby by any
         govenunental entity that would make consummation of the transactions contemplated hereby
         illegaJ.

                         A tennination pursuant to this Section 13.01 shall be effected by delivery of
         written notice of such tennination by the terminating party to the other Party. Where action is
         taken to tenninate this Agreement pursuant to this Section 13.0 1, it shall be sufficient for such
         action to be authorized by the board of the Party taking such action.

                        Section 13.02 Procedure upon and Effect of Termination

                         In the event of tennination and abandonment under Section 13.01, wri tten notice
         thereof shall forthwith be given to the other Party and the transactions, conveyances, and other
         actions contemplated by this Agreement shall be tenninated and abandoned immediately,
         without further action by the Parties. If the transactions contemplated by this Agreement are
         tem1inated as provided herein, no Party and none of the directors, officers. stockholders.
         affiliates or controlling Persons of such Pa11y shall have any further liability or obligation to any
         other Party to this Agreement except for a willful failure of a Pa1ty to fulfill a condition to the
         performance of the obligations of the other Party or a willful breach of a covenant or
         representation or warranty. The provisions of A11icle XIII and Article XIV shall survive any
         termination of this Agreement.

                                                   Article XIV.
                                                   Miscellaneous

                        Section 14.01 Notices

                        AU notices. requests and other communications hereunder must be in ,~Titing and
         will be deemed to have been duly given only if delivered personally against written receipt or by
         facsimile transmission with answer back confimrntion or mailed (postage prepaid by certified or
         registered mail, return receipt requested) or by nationally recognized overnight courier that
         maintains records of delivery to the Parties at the following addresses or facsimile numbers:

                        If to Buyer to:

                                Actavis Elizabeth, L.L.C.
                                60 Columbia Road, Building, B
                                Morristown, NJ 07960
                                Attention: Chief Legal Officer
                                Facsimile: (973) 993-4306




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                        With copies to:

                                Wilson Sonsini Goodrich & Rosati, P.C.
                                1301 Avenue of the Americas
                                40th Floor
                                New York. NY 1001 9
                                Attention: Arthur L. Hoag
                                Facsimile: (212) 999-5899

                        If to Seller to:

                                King Pham1aceuticals, Inc.
                                50 J Fifth Street
                                Bristol, Tennessee 37620
                                Attention: General Counsel
                                Facsimile: 423-990-2566

                        With a copy to:

                                King Phannaceuticals. Inc.
                                400 Crossing Boulevard
                                gth Floor
                                B1idgewater, New Jersey 08807
                                Attention. General Counsel
                                Facsimile: 908-927-8430

                         All such notices, requests and other communications will (a) if delivered
         personally to the address as proYided in this Section, be deemed given upon receipt, (b) if
         delivered by facsimile to the facsimile number as provided in this Section, be deemed given upon
         receipt by the sender of the answer back confirmation and (c) if delivered by mail in the manner
         described above or by overnight courier to the address as provided in this Section, be deemed
         given upon receipt (in each case regardless of whether such notice, request or other
         communication is received by any other Person to whom a copy of such notice, request or other
         communication is to be delivered pursuant to this Section). Either Party from time to time may
         change its address, facsimile number or other information for the purpose of notices to that Party
         by giving notice specifying such change to the other Paity in accordance with the terms of this
         Section.

                        Section 14.02 Entire Agreement

                        This Agreement (and all schedules attached hereto and all other documents
         delivered in connection herewith) contains the sole and entire agreement between the Parties
         with respect to the subject matter hereof and supersedes all prior discussions and agreements
         between the Parties v.rith respect to the subject matter hereof. Except as expressly provided
         herein, nothing in this Agreement shall modify or amend any provision of the Toll
         Manufacturing Agreement or the Development and Manufacturing Services Agreement, dated as
         of February 1, 2008, by and between Alpharma Phaimaceuticals LLC and Buyer.



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                        Section 14.03 Waiver

                         Any term or condition of this Agreement may be waived at any time by the Party
         that is entitled to the benefit thereof, but no such waiver shall be effective unless set fo11h in a
         \vritten instrument duly executed by or on behalf of the Pa11y waiving such tenn or condition.
         No waiver by either Party of any term or cond ition of this Agreement, in any one or more
         instances, shall be deemed to be or construed as a waiver of the same or any other tem1 or
         condition of this Agreement on any future occasion. All remedies, either under this Agreement
         or by law or otherwise afforded, will be cumulative and not alternative.

                        Section 14.04 Amendment

                       This Agreement may be amended, supplemented or modified only by a v.Titten
         instrument duly executed by each Patty.

                        Section 14.05 Third Party Beneficiaries

                        The tem1s and provisions of this Agreement are intended solely for the benefit of
         each Party and its respective successors or permitted assigns and it is not the intention of the
         Parties to confer third-pa11y beneficiary rights upon any other Person.

                        Section 14.06 Assignment; Binding Effect

                       Neither this Agreement nor any right, interest or obligation hereunder may be
         assigned by either Party without the prior \vTirten consent of the other Party, which shall not be
         unreasonably withheld or delayed, and any attempt to do so will be void. Th.is Agreement is
         binding upon, inures to the benefit of and is enforceable by the Parties and their respective
         successors and pem1itted assigns.

                        Section 14.07 Headings

                        The headings used in this Agreement have been inserted for convenience of
         reference only and do not define or limit the provisions hereof.

                        Section 14.08 Severability

                        If any provision of this Agreement is held to be illegal, invalid or unenforceable
         under any present or future Law, and if the rights or obligations of either Party under this
         Agreement will not be materially and adversely affected thereby, (a) such provision will be fully
         severable, (b) this Agreement will be construed and enforced as if such illegal, invalid or
         unenforceable provision had never comprised a part hereof, (c) the remaining provisions of this
         Agreement will remain in full force and effect and will not be affected by the illegal, invalid or
         unenforceable provision or by its severance herefrorn, and (d) in lieu of such illegal, invalid or
         unenforceable provision. there will be added automatically as a part of this Agreement a legal,
         valid and enforceable provision as similar to such illegal, invalid or unenforceable provision as
         may be possible and reasonably acceptable to the Parties.




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                        Section 14.09 Governing Law

                  THJS AGREEMENT SHALL BE GOVERNED BY AND CONSTRUED IN
         ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK EXCLUDING
         ANY CONFLICTS OR CHOICE OF LAW RULE OR PRJNCIPLE THAT MIGHT
         OTHERWISE REFER CONSTRUCTION OR INTERPRETATION OF THIS
         AGREEMENT TO THE SUBSTANTIVE LAW OF ANOTHER JURISDICTION.

                        Section 14.10 Consent to Jurisdiction and Forum Selection

                   THE PARTIES AGREE THAT ALL ACTIONS OR PROCEEDINGS
         ARISING IN CONNECTION WITH THIS AGREEMENT (OTHER THAN APPEALS
         THEREFROM) SHALL BE INITIATED AND TRIED EXCLUSIVELY TN THE LOCAL
         AND FEDERAL COURTS LOCATED IN THE SOUTHERN DISTRICT OF NEW
         YORK. THE AFOREMENTIONED CHOICE OF VENUE IS INTENDED BY THE
         PARTIES TO BE MANDATORY AND NOT PERMISSIVE IN NATURE, THEREBY
         PRECLUDING THE POSSIBILITY OF LITIGATION BETWEEN THE PARTIES
         WITH RESPECT TO OR ARISING OUT OF THIS AGREEMENT IN ANY
         JURJSDICTION OTHER THAN THAT SPECIFIED IN THIS SECTION. EACH
         PARTY HEREBY WAIVES ANY RIGHT IT MAY HAVE TO ASSERT THE
         DOCTRINE OF FORUM NON CONVENIENS OR SIMJLAR DOCTRINE OR TO
         OBJECT TO VENUE WITH RESPECT TO ANY PROCEEDING BROUGHT IN
         ACCORDANCE WITH THIS SECTION, AND STIPULATES THAT THE LOCAL AND
         FEDERAL COURTS LOCATED IN THE SOUTHERN DISTRICT OF NEW YORK
         SHALL HA VE PERSONAL JURJSDICTION AND VENUE OVER EACH OF THEM
         FOR PURPOSE S OF LITIGATING ANY DISPUTE, CONTROVERSY OR
         PROCEEDING ARISING OUT OF OR RELAT ED TO THIS AGREEME NT. EACH
         PARTY HEREBY AUTHORIZES AND AGREES TO ACCEPT SERVICE OF PROCESS
         SUFFICIENT FOR PERSONAL JURISDICTION IN ANY ACTION AGAINST IT AS
         CONTEMPLATED BY THIS SECTION BY REGISTERED OR CERTIFIED MAJL,
         RETURN RECEIPT REQUESTED, POSTAGE PREPAID TO ITS ADDRESS FOR THE
         GIVING OF NOTICES AS SET FORTH IN THIS AGREEMENT, OR IN THE MANNER
         SET FORTH IN SECTION 14.01 OF THIS AGREEMENT FOR THE GIVING OF
         NOTICE. ANY FINAL JUDGMENT RECEIVED AGAINST A PARTY IN ANY
         ACTION OR PROCEEDING SHALL BE CONCLUSIVE AS TO THE SUBJECT OF
         SUCH FINAL JUDGME NT AND MAY BE ENFORCED IN OTHER JURJSDICTIONS
         IN ANY MANNER PROVIDED BY LAW.

                        Sectioo 14.11 Expenses

                         Except as otherwise expressly provided in this Agreement, each Party shall pay its
         own expenses and costs incidental to the preparation of this Agreement and to the consummation
         of the transactions contemplated hereby.




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                       Section 14.12 Counterparts

                        This Agreement may be executed in any number of counterparts and by facsimile
         or other electronic transmission, each of which will be deemed an original. but all of which
         together will constitute one and the same instrument.

                             (The remainder of this page is left blank intentionally.)




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                          IN WITNESS WHEREOF, this Agreement has been executed by the Parties as of
          the date fust above written.




                                                           e: Brian A Mark.ison
                                                      T1tle: Chaitman, President and CEO



                                                   ACTAVIS ELIZABETH, L.L C.


                                                  By:_ _ _ _ __ _ _ __
                                                     Name:
                                                      Title:




                                              [Signature Page]




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                           IN WITNESS WHEREOF, this Agreement has been executed by the Parties as of
          the date first above written.
                                                   KING PHARMACEUTICALS, INC.


                                                   By: _ _ _ _ _ _ _ _ __
                                                       Name:
                                                       Title:



                                                   ACTAVIS ELIZABETH, L.L.C.



                                                   B~i¥Title:/4-r,~l(t~ #:#f/V /8~,¥ l.L('.




                                               [Signature Page}




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                                  SELLER'S DISCLOSURE SCHEDULE

                               SECTION l.OJ(k) - ASSUMED CONTRACTS

         Distribution Services Agreement dated as of March 26, 2007 between Alpharma Branded
         Products Division Inc. and Cardinal Health I 05, Inc.




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                           SECTION 1.0l(uuu) - PRODUCT DOMAIN NAMES

         kadian.com
         kadianabuse.com
         kadianabuse.net
         kadianabuse.org
         abusekadian.com
         abusekadian.net
         abusekadian.org
         kadianhcp.com
         kadianhcp.net
         kadianhcp.tv
         kadian.tv




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                                 SECTION 6.04 - NON-CONTRAVENTION

         Consent is required to assign the Distribution Services Agreement dated as of March 26, 2007
         between Alpharma Branded Products Division Inc. and Cardinal Health 1OS, Inc.

         Consent may be required to assign Assumed Contracts pursuant to Section 8.23.




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                                         SECTION 6.07 - LITIGATION

         DOJ Information Request / Investi!rntion

         On February 28, 2007, Alpham1a received a subpoena from the U.S. Department of Justice
         c··oor) requesting certain documents in connection \1vith its investigation i11to various marketing
         practices with respect to KADIAN capsules (KADIA is a registered trademark of Alpha1ma
         Phannaceuticals), an extended-release formulation of morphine sulfate. Alpham1a has learned
         that the DOJ has requested an interview with at least one fom,er Alpharma employee, and has
         subpoenaed records from several physicians who perfonned research on KADIAN and/or wrote
         articles about KADIAN. Alpham1a has also learned that the government has subpoenaed records
         from at least tv.ro third-pa11y vendors who were retained to provide services relating to clinical
         studies of KADIAN. The DOJ has also asked Alpharma to provide documents relating to post-
         approval studies of KADlAN that were submitted to the FDA. Alpharma and its subsidiary.
         Alpham1a Pharmaceuticals, have responded and are continuing to respond to this subpoena and
         additional infom1ation requests and are fully cooperating with the DOJ. At this time, Alpham,a
         cannot predict or detennine the outcome of this matter or reasonably estimate the amount or
         range of amounts of fines or penalties, if any, that might result from an adverse outcome.




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                                       SECTION 6.09 - REGULATORY

         DOJ lnfom1ation Request / Investigation

         On February 28, 2007, Alphanna received a subpoena from the U.S. Department of Justice
         ('·DOJ") requesting certain documents in connection with its investigation into various marketing
         practices with respect to KADIAN capsules (KADIAN is a registered trademark of Alphanna
         Pham1aceuticals), an extended-release formulatjon of morphine sulfate. Alpham1a has learned
         that the DOJ has requested an interview with at least one fom1er Alpharma employee, and has
         subpoenaed records from several physicians who perfonned research on KADIAN and/or wrote
         articles about KADIAN. Alphruma has also learned that the government has subpoenaed records
         from at least two third-party vendors who were retained to provide services relating to clinical
         studies of KADIAN. The DOJ has also asked Alpbarma to provide documents relating to post-
         approval studies of KADIAN that were submitted to the FDA. Alphanna aJ1d its subsidiary,
         Alphanna Phannaceuticals, have responded and are continuing to respond to this subpoena and
         addi tional infonnation requests and are fully cooperating with the DOJ. At this time, Alphanna
         cannot predict or determine the outcome of this matter or reasonably estimate the amount or
         range of amounts of fines or penalties, if ru1y, that might result from an adverse outcome.




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